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     DOCKET NO:                     :                 SUPERIOR COURT
     HHD-LND-CV-XX-XXXXXXX-S        :
                                    :
     JANET LOWE, AMIN M. KESHWANI,  :
     LING-CHUAN CHU, HELEN JANE      :
     FRIED, and MARYLLYN DONNA       :                J.D. OF HARTFORD
     FAIRFIELD                       :
                                    :                 AT HARTFORD
     V.                             :
                                    :
     PLANNING AND ZONING COMMISSION :
     OF THE TOWN OF MANSFIELD       :                 December 20, 2015

                     AMENDED APPEAL AND COMPLAINT


                             INTRODUCTION

1. To the Superior Court Land Use Docket for the Judicial District of

   Hartford, at Hartford, come JANET LOWE, AMIN M. KESHWANI, LING-

   CHUAN CHU, HELEN JANE FRIED, and MARYLLYN DONNA

   FAIRFIELD, to bring this amended special permit zoning appeal and the

   claims of Fair Housing Act (“FHA”) violations against them under both state and

   federal law, pursuant to CT Gen. Stat. Sec.46a-64c and 42 U.S.C. Section 1982

   and 42 U.S.C. Section 3604, and they also claim discrimination against them,

   pursuant to the state constitution, CT. Const. Article XXI and the U.S.

  Const. amend, XIV, against the named defendant, PLANNING AND ZONING

  COMMISSION OF THE TOWN OF MANSFIELD, stemming from both the

   Town’s zoning process and the specific decision in the special permit approval of

   Adam Lambert on June 15, 2015.
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                           PARTIES



 2. At all times mentioned herein, the plaintiff Janet Lowe, who over the age of 65,

    lived and was the owner of the property known as 12 Olsen Drive, Mansfield,

    Connecticut 06250.

 3. At all times mentioned herein, Amin M. Keshwani was the co-owner of property

   known as 61 Olsen Drive, Mansfield, Connecticut 06250.

 4. At all times mentioned herein, Ling-Chaun Chu was the co-owner of property

   known as 61 Olsen Drive, Mansfield, Connecticut 06250.

 5. At all times mentioned herein, Helen Jane Fried was the co-owner of property

   known as 39 Olsen Drive, Mansfield, Connecticut 06250, was over the age of

   65 and had a disability that significantly impacts a major life activity, as

   understood under the Americans with Disability Act, (“ADA”) with her

   Affidavit, Exhibit A, incorporated by reference herein.

 6. At all times mentioned herein, Maryllyn Donna Fairfield was the co-owner of

    the property known as 39 Olsen Drive, Mansfield, Connecticut 06250 and

    has had two disabled elderly parents over the age of ninety years living with her

    at this property for six months out of the year.

 7. At all times relevant to this Complaint, the defendant, the Planning and Zoning

    Commission of the Town of Mansfield, agents for the Town of Mansfield,

    are/were, with their address Audrey P. Beck Municipal Building, 4 South

     Eagleville Road, Mansfield, CT 06268 and were responsible for special permit




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        zoning application assessment and receive federal FHA funding.

                          EXHAUSTION OF REMEDIES

     8. The Fair Housing Act does not require exhaustion of administrative remedies

         and administrative agency review is unnecessary when the process is

         constitutionally infirm.

                                FACTS

.       9. The plaintiff Lowe’s property at 12 Olsen Drive is within 100 feet of the

          property known as 17 Olsen Drive, Mansfield (hereinafter, the “Subject

          Property”.)

      10. The plaintiff Keshwani’s property at 61 Olsen Drive abuts the Subject

           Property.

      11. The plaintiff Chu’s property at 61 Olsen Drive abuts the Subject Property.

      12. The plaintiff Fried’s property at 39 Olsen Drive, is within the “Mulberry

          Village” ( defined area of Olsen Drive), as includes the Subject Property.

       13. The plaintiff Fairfield’s property at 39 Olsen Drive, is within the “Mulberry

           Village” area of Olsen Drive as includes the Subject Property.

       14. On June 15, 2015, the defendant Planning and Zoning Commission of the

           Town of Mansfield (the “Commission”) granted a special permit

           application made by Adam Lambert of 17 Olsen Drive to construct an

           Efficiency Unit, two bedroom, on the Subject Property.

       15. Notice of the decision made by the Commission on June 15, 2015, was

           published in the Chronicle on June 22, 2015.

       16. In granting the application, resulting in a zone change, the Commission




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      acted unlawfully, arbitrarily, capriciously, and in abuse of the discretion

      vested in it, in one or more of the following ways:

      a. It failed to provide adequate notice of the proposed change of zone as

         provided by Sec. 8-3 of the Connecticut General Statutes;

      b. It failed to follow the guidelines set forth in its own Plan of Conservation

         and Development;

       c. It failed to adhere to the standards set forth in its own regulations

    17. In granting the special permit application, the Commission acted

       unlawfully, arbitrarily, capriciously, and in abuse of the discretion vested

       in it, in one or more of the following ways:

       a. It noticed an application to the public with erroneous information of

          intended use and of acreage amount.

       b. It failed to comply with its own standards for the granting of an

         efficiency permit by allowing property with less than 40,000 square feet

         to develop an efficiency unit.

       c. It failed to comply with its own standards by granting an efficiency unit

         for the purposes of acting as a source of income without establishing in

         the record the financially overburdened status of the applicant.

       d. It allowed a Multi-family Unit at Subject Property, which is not a

         permitted use within the RAR-90 Zone District because two bedroom

         efficiency units create two independent living facilities with provisions

         for living, sleeping, eating, cooking and sanitation.

       e. It allowed a two-bedroom efficiency to be granted when the Plan of




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         Conservation and Development Committee rejected two-

         bedroom efficiency use.

     18. The actions of the Commission, acting outside of its own standards, will

          have a disparate impact on the elderly in the area defined as within the

          Mulberry Village and in the Town of Mansfield incorporating by

           Reference Exhibit A.

     19. In conducting the Commission discussion on the application, the

        Commission, acting through its Chairman, JoAnn Goodwin, improperly

         and unlawfully limited discussion by a Commission member,

         Binu Chandy, regarding the financial burden language, of special

         permits, Mansfield Zoning Regulations Article X, for efficiency Units

         for commercial use.

      20.The Commission would not consider disparate impact claims that the

         special permit would have on the elderly with disabilities because it

         stated that their process of review would not allow for consideration of

          those concerns, incorporating herein by reference Exhibit A, facts

          addressing the features of Olsen Drive that made the elderly disabled

          residents there, more than any other age group, to be apprehensive in

          walking after a granting of the special permit because their resultant

          reduced walking would predictably limit good health related outcomes.

       21. Plaintiff Helen Jane Fried, requested an accommodation that, as a

           resident in the neighborhood with a disabling condition, aged but not

           infirmed, that the Commission consider the disparate impacts




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           and needs of the disabled elderly before granting the special permit

           application before them, that accommodation was denied; actions

           of less discriminatory impacts, such as referring the raised issues to

           their Town Attorney for consultation could have been undertaken.

       22. The Commission’s adherence to their current zoning process, not to

          consider concerns about a special permit application raised

          during public hearing, has or will have the discriminatory impact

          on the disabled elderly in Town by limiting their ability to obtain and

           retain the use of appropriate housing; this practice has or will also

           segregate the disabled elderly and depriving residents of Town the

           opportunity to live in a disabled elderly integrated community.

       23. The plaintiffs are aggrieved by the Commission’s approval of the

           special permit application, the unconstitutional process in which the

           Commission granted it and the reckless disregard for the elderly

           disabled that the Commission’s unwillingness to consider any of the

           publicly raised concerns about harm to the elderly disabled expressed.

       24. Plaintiff Fried suffered, and suffers, severe emotional distress and

           mental anxiety that her concerns would not be considered by the

           Commission knowing how many others like her would suffer,

           incorporating herein by reference Exhibit A, as there is a large

           percentage of elderly disabled on Olsen Drive, that need to walk for

           good health outcome, that will not feel able to walk because of

           apprehensions raised by the number of student age drivers residing or




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           visiting Olsen Drive when rentals, efficiency units, and multi-housing

           units are allowed to increase in this neighborhood that is situated a

           university community and within close commuting distance to a

           second university.

                COUNT ONE-ZONING CODE VIOLATION

        1-24. Paragraphs 1 through 24 of the above Facts, with Exhibit A,

        are hereby incorporated by reference as paragraphs 1 through 24 of

        the First Count.

       25. The conduct of the Commission violated the Zoning Regulations of

           the Town of Mansfield..

     COUNT TWO-FAIR HOUSING VIOLATIONS-UNDER STATE LAW

      1-25. Paragraphs 1 through 25 of the above facts, are hereby incorporated

       as paragraphs 1 through 25 of the Second Count.

      26. The conduct of the defendant violated the Fair Housing Act, CT Gen.

          Stat. Sec. 46a-64c.

     COUNT THREE-FAIR HOUSING VILATIONS-UNDER FEDERAL LAW

     1-25. Paragraphs 1 through 25 of the above facts are hereby incorporated as

      paragraphs 1 through 25 of the Third Count.

      27. the conduct of the defendant violated the Fair Housing Act, 42 U.S.C.

         Section 3604 and 42 U.S.C. Section 1982.

           COUNT FOUR-STATE CONSTITUTIONAL VIOLATIONS

     1-25. Paragraphs 1 through 25 of the above facts, incorporated as paragraphs

     1 through 25 of the Fourth Count.




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             28. The Conduct of the defendant violated CT. Const. Article XXI.



               COUNT FIVE-FEDERAL CONSTITUTIONAL VIOLATIONS

           1-25. Paragraphs 1 through 25 of the above facts, incorporated as paragraphs

          1 through 25 of the Fifth Count.

           29. the conduct of the defendant violated U.S. Const. amend, XIV.



                                  PRAYER FOR RELIEF

    WHEREFORE, the plaintiffs respectfully pray that this Court take jurisdiction over

this case, sustain this zoning appeal, find violations under the federal and state Fair

Housing Act, find discrimination under the federal and state constitutions and pray that

the following relief there from be ordered:

     a. The plaintiffs be compensated for the emotional harm they have suffered;

     b. The plaintiffs be awarded reasonable attorney fees and costs;

     c. The plaintiffs be awarded punitive damages;

     d. The plaintiffs be awarded economic damages incurred.

     e. Such other relief as the Court deems appropriate.

       RESPECTFULLY SUBMITTED,

                                              THE PLAINTIFFS,
                                               By, /s/405924_________
                                                 Arthur A. Smith
                                                 Law Offices of Arthur A. Smith
                                                 28 Grand Street
                                                 Hartford, Connecticut 06106
                                                 Tel. (860) 724-3333
                                                 Fax. (860) 550-6779
                                                 attyasmith@aol.com




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                                 CERTIFICATION

A copy of the foregoing was emailed, first class postage prepaid on this 20th day
of December, 2015 to counsel of record, Attorney Kevin Deneen, O’Malley, Deneen,
Leary. Messian,& Oswcki, 20 Maple Avenue, Windsor, CT 06095 and certified mail,
#7014 3490 0000 1492 0877, to Adam Lambert, 17 Olsen Drive, Mansfield, CT. 06250.


                                /s/ Juris #405924

                                 Arthur A. Smith, Esq.




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                                                                                         PLAIN'IFF'S
                                                                                           EXHI&rr




                                                                                       NO.
                                                                                             A

                              AFFIDAVIT OF HELEN JANE FRIED




I, Helen Jane Fried, am over the age of eighteen, of sound mind, believe in the obligation of an
oath and affirm that the following statements, hereby sworn to under oath and and under
penalty of perjury under the laws of the United States, to be correct and true:




1. My name is Helen Jane Fried and I live at 39 Olsen Drive, Mansfield, Connecticut ("Town"),
where I have lived for forty (40) years.

2. I am over the age of 6S and have a disability that significantly impacts a major life activity, as
understood under the Americans with Disability Act, ("ADA").

3. I have been found by my treating phsyician to have a disability that substantially limits a
major life activity.

4. My employer, Connecticut Central State University ('CCSU"), has granted me employment
accommodations, as understood under the ADA, see attached document, Attachment A.

5. My disability treatment plan requires, for good health outcomes, that I maintain regular
excercise.

6. I follow my treatment plan objectives of exercise by walking in my neighborhood, on Olsen
Drive.

7. Olsen Drive is a public Road.

8. Olsen Drive is a circular loop with a downward slope with limited vision of approaching
traffic.

9. Olsen Drive is heavily vegetated at the lowest point of the sloping curve.

10. Olsen Drive does not have sidewalks.

11. Olsen Drive does not have public lighting.


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12. Olsen Drive has no speed bumps.

13. Olsen Drive does not have a shoulder, defined as a portion of the roadway contiguous with
the traveled way for accommodation of stopped vehicles for emergency use.

14. Olsen Drive does not have yellow line crosswalks nor yellow line mid-road demarcations.

15 Olsen Drive does not have a water drainage system.

16. Olsen Drive residents, and their visitors, have the pattern and practice of parking their
vehicles on that road for limited but unregularted periods of time.

17. Olsen Drive, also known as Mulberry Village, ("MV") is comprised of seventeen (17) houses.

18. Olsen Drive has a large percentage of owners over the age of 65, who have know
disabilities, as understood under the ADA, more than half, 52%, nine (9) out of seventeen (17)
properties, and if in-law elderly long-term guests with disabilites, my in-laws who stay six
months out of the year, are included, that number rises to 64%. Seventy (70%) percent of
home owners. twelve (12) in the owners of the seventeen (17) properties, are over the age of
65. If those two long-term guest are included, in fourteen (14) out of seventeen (17) properties,
82% are over the age of 65.

19. Olsen Drive elderly residents, those identified in the above statement with disabilities, have
a pattern and practice of walking on Olsen Drive as a part of their treatment plan objectives and
to increase good helath outcomes.

20. I have a doctorate degree in counseling.

21. I have talked with elderly neighbors with disabilites living on Olsen Drive about their need
to continue walking routines in the nieghborhood to maintain good health outomes.

22. I understand from talking with elderly neighbors living on Olsen Drive, not as a therapist but
in a neighbor to neighbor capacity, that they have a growing apprehnsion that Olsen Drive is
becoming unsafe to walk on because of the increasing number of young, college age, drivers
driving on that road and because of the increased number of vehicles percieved to be traveling
on Olsen Drive.

23. I also have increasing apprehension about walking on Olsen Drive and have limited my
walking excercise, a part of my medical treatment objectives, because of the fear for my safety,
as a pedistrian, for the same reasons as outlined above in statement number 22.

24. Olsen Drive is located in a college town, the University of Connecticut ("UConn"), Storr's
campus, is located there.

25. Olsen Drive is also within close communting distance to Eastern Connecicut State University

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(" ECSU") in Willimantic, a neighboring town.

26. I have observed that Olsen Drive's fastest growing resident and visitor population is of
college age students observed to be between the ages of 18-26.

27. As a professional with educational training in off campus housing, I ran an off campus
housing office in Trenton, New Jersey at Treton State College (TSC"), I know that the college age
group, 18-26, has more automobile accidents, with higher insurance costs, than any other age
group and that alcohol consumption is a major contributing factor in their automobile
accidents.

28. I also know to be true that the greater number of vehicles in an area increases the
likelihood of a site being dangerous to pedestrians, and that pedistrians sixty-five ( 65) and
older acount for the the highsest pedestrian fatality rate, than all other ages groups, (U.S.
D.O.T. Traffic Safety Facts 2011).

29. I also know to be true that students moving into a neighborhood, as they did at TSC, change
the ethos of the setting and often require increased police enofrcement interventions.

30. Because of the reasons listed above, and my professional training, resulting in my belief
that I would be further harmed by further increased apprehension about my safety as a
pedestrian, with greater reluctance to walk, and with increased, both professional and non-
professional, concerns that other elders with ("ADA") disabilities on Olsen Drive would be
further harmed, I attended the special permit application hearing, held by the Planning and
Zoning Commission of the Town of Mansfield ("the Commission") on June 15, 2015, where they
were to evaluate the two-bedroon efficiency special permit application of Adam Lambert of 17
Olsen Drive. Please see ATTACHMENT B articles defining "apprehension as a health outcome
cost": Associations of Perceived Neighborhood Environment on Health Status in Persons with
Arthritis; Environments and Heal/th: Planning Decisions As Public -Health Decisions; Pedestrian
Environment Data Audit Protocol; Pedestrian Environment Data-Worksheet, Walkability
Checklist (U.S.D.O.T.) Taffic Safety Facts-Pedestrians (U.S.D.O.T.)

31. The notice of the June 15, 201S special permit hearing had been published in The Chronicle
on June 2, 2015 and June 10, 2015, both times stating that more information about the
application could be obtained at the A.P. Beck Building, ("Town Hall").

32. The special permit application of Adam Lambert, ("SPA") referred to in the published
notices,did not indicate that the two bedroom efficiency was intended for commercial use.
Financial need was not established in the hearing record, as required by zoning regualtion for
commercial use ,nor during the Commission deliberation phase did the Chairperson allow
consideration of financial need.

33. The SPA submitted by Mr. Lam bet indicated that his property was an acre lot, not a .9 acre

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parcel, that it was later found out to be.

34. The .9 acre parcel in Mr. Lambert's SPA, under review by the Commission, did not meet the
40,000 square feet use and dimensional requirements zoning requirements of Article X, Section
L.2.a.

35. Incorporating the statements made by speakers before me (that the elderly with infirmities
would be disproportionately impacted by increased student housing and that resources would
be lost to the elderly in the Olsen Drive community should the SPA be approved), as a walker on
the cui de sac, who lived in my house for 40 years, aged but not yet infirmed, I am ADA qualified
but found to be able to work with accommodations, I asked the Commission to consider
enforcement problems depending on who moves into the neighborhood with these raised
concerns in mind. My request for accommodation, the consideration of these issues, was
denied. The Commission's denial was a reckless disregard for my rights and the rights of the
other disabled elderly on Olsen Drive, and in the Town of Mansfield, for that matter

36. In deliberation, the Commission stated that outside of the regulatory requirements the
zoning process did not allow for the consideration of the raised issues presented by the
speakers during the public Lambert SPA hearing, here the disparate impact of increased student
housing on the disabled elderly in the community.

37. The Commission's adoption and enforcement ofthe Town's zoning regulations in the
special permit application process has or will have a discriminatory effect on the disabled
elderly on Olsen Drive and in Town by virtue of its significant disparate impact on their ability to
obtain housing in the Town allowing for perceptions of safe pedestrian mobility, to the
detriment of their good health outcomes, compared with the non-disabled younger age
groupings in violation of the Fair Housing Act, with which, I am professionally familiar. The
Town's zoning regulation process without such considerations of disparate impact, as we raised
during the public hearing for consideration, will also have the effect of perpetuating
segregation by excluding the disabled elderly minorities from the Town's neighborhoods and
thereby depriving current residents of the Town of the opportunity to live in a disabled elderly
integrated community. For those reasons, the Town's special permit application reveiwing
process, from beginning through administrative Zoning Board of Appeal, is illegal.

38. The Town has articulated no rational reason or otherwise legitimate governmental purpose
justifying the zoning regulation special permit reviewing process that would otherwise obviate
the substantially disproportionate effect against the disabled elderly minorities. Alternatively,
assuming arguendo that such a rational reason or legitimate governmental purpose existed, the
Town could still have accomplished its goals in a manner having a less discriminatory effect on
the disabled elderly on Olsen Drive, who are and will be denied opportunities to enjoy the
benefits of their dwellings, sufficient perceptions of pedestrian safety to allow for mobility to



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Maintain good health outcomes, in Town under the existing special permit zoning process.

39. In my professional opinion, as agents for the Town, the Commission has engaged in disparate
impact discrimination in violation of the federal Fair Housing Act, as amended, and under the state's
comparable Fair Housing requirements through their existing zoning regulations for the special permit
application review process proves, from that beginning through the administrative Zoning board of
appeal.

40. In my professional opinion, as agents for the Town, the Commission intentionally discriminates
against the disabled elderly, as in this hearing, when it participates in a process where testimony is
provided that a protected class will be disparately impacted and it fails, even minimally, to continue the
hearing process to a further date in order to obtain legal counsel on whether those raised issues may be
taken into consideration.

                                                            e actions of the Commission, as described above.




           e Fried

5 ornto before me      ~    "'~~"'"'\.'\,..,...
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                                                         :Ston~4-~

On this    /"1_.. '"' day of December, 2015, as Not~

                      COMMISSIONER OF THE SUPERIOR COURT
                           -~ " ..... ;, 1'1- 4 0 !J- 9 2 -1-
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             Affidavit of Helen Jane Fried
             Attachment -A
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                                                    State of Connecticut Human Resources
                                                             Medical Certificate
                                                                Return to:
                            Agency Name: Central Connecticut State University Attn: Human Resources
                   Address: 1615 Stanley Street, New Britain CT 06050-4010 ·FAX: (860) 832-2342
                             Must be submitted within 30 days of foreseeable leave, if leave is FMLA qualifying.
  Form#: P33A- Employee
  Revision Date: V20 II           To be used by employee who is absent for fcrsonal illness, including FMLA atisent:es.


                   This medical certificate is to be used by an employee who is or will be absent for health reasons including the
                    birth of a child. It shall be given to the employee or sent directly to his physician or practitioner. The name of
           AGENCY
                   the person and the address of the agency to which this certificate is to be returned shall be inserted in the
     INSTRUCTIONS space provided. The PHYSICIAN OR PRACTITIONER will generally return the filled out certificate to the
                   aoencv head or authorized reoresentative. Fill in emolovee's name, oosition and address below.
                   Agency Head or Representative                                        I
                                                                                  Agency Name
                   Nonma Rivera                                                  Central Connecticut State University
                   Agency Address (No. and Street)                     (City or Town)                   (State)           (ZIP Code)
                   1615 Stanley Street                                 New Britain                       CT                06050
                    Employee's Name and Employee's Number
    AGENCY FILL IN Helen Jane Fried - #173965
                   Employee's Position                                         [, Department
                   Professor                                                     Counseling & Family Therapy
                   Address (No. and Street)                             (City or Town)                  (state)           (ZIP Code)
                   39 Olsen Drive                                       Mansfield                        CT                06250
                    No sick leave, federal FMLA, state family/medical leave (C.G.S. 5-248a), special leave with pay in excess of
                   five (5) days, or leave as otherwise prescribed by contract, shall be granted state employees unless supported
                   by a medical certificate filed with, and acceptable to, the appointing authority. The period of incapactty
                   (including, in the case of pregnancy, the period of time before and after birth when the employee is unable for
                   medical reasons to perfonn the requirements of her job} must be reported with a description of the nature of
                   the incapacity entered under (2) and/or (7).
       CONDITIONS
       GOVERNING The Genetic Information Nondiscrimination Act of 2008 (GINA) prohibits employers and other entities covered
         ISSUANCE by GINA Title II from requesting or requiring genetic information of an individual or family member of the
                   individual, except as specifically allowed by this law. To comply with this law, we are asking that you-not
                   provide any genetic infonnation when respondinQ-to this request for medical infonnation. 'Genetic infonnation'
                   as defined by GINA, includes an individual's family medical history, the results of an individual's or family
                   member's genetic tests, the ·tact that an individual or an individual's family· member soUght or received genetic
                   services, and genetic infonnation of a fetus carried by an individual or an individual's family member or an
                   embryo lawfully held by an individual or family member receiving assistive reproductive services.
                           (1)        Pages 3-4 of this fonn describes what is meant by a "serious health condition" /"serious
                                      illness" under federal FMLA and state family/medical leave (C.G.S. 5-248a). Does the patient's
                                      condition qualify under af..e?e categories described? (Please be sure to refer to pp. 3 and 4 for
                                      specific definitions.)             If yes, please check the appropriate category:
                                                       (fill in es· or 'no")             ·
                                      _ _ Inpatient care with overnight stay        _ _ Pennanentllong-term conditions requiring supervision
                                      _ _ Incapacity and treatment                  __ Multiple treatments (non-chronic conditions)
  This form must be
                                      ~;nancy           (includes prenatal)     __ None of the above
      executed by a
        physician or                           ronic conditions requiring treatments
 practitioner whose        (2)        lMhis absence is for an FMLA qualifying reason, describe the medical facts that support your
method of healing is                   certification, including a brief statement as to how the medical facts meet the criteria of one of the
                                       categories on pages 3-4. If this absence is not for an FMLA qualifying reason, describe the medical
  recognized by the
                                       facts that support your certification of the employee's medical condition and inca~~om work. If
State, except where
otherwise indicated.                   ad~£spac~nt~ma~_under
                                              c W'P                       a                 ;. ~ectio~.
                                                                                               · .          ~                   •    '<y
                                                                                                                                  · V-J;?_

    Note: The health
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                                                                                                                  SQ/12          /!'       o/t-
 care provider must        (3)        (a) Answer the following:
      practice in the                        1. The approximate date the condition commenced_                 2-o~-
 specialty for which                          2. The probable duration of the condition.         ~~
 the patient is being
             treated.                         3. The probable duration of the patient's present incapacity (if different from (3)(a)2. above).
                                                                                                                                           /
                                             4. The date of the employee's most recent examination for the oondition.           '-/Y/dr:;/(j-
                                      (b) Will it be- necessary for ~he employee to take work only intermittently or on a reduced
                                          schedule as a result of the condition (including for treatment described in ITEM (4) below)?
                                                                    If yes, give the probable duration and frequency.
                                            (fill in 'yes" or no")                                              (fill in no. of months or days, etc.)
                                                                                             1
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                                              (c) If condition is a "chronic condition" (as checked off under Section (1)) or pregnancy, state
                                                  whether the patient is presently incapacitated and the likely duration and frequency of
                                                  episodes ..:.f •..,capacity:
                                                                     Patient __ is _ _ is not presenijy incapacitated. (check one)
                                                                  --
                                                   Goinq forward, estimate the:
                                                        . Duration of episodes of incapacity=                       (hours or days, etc.)
                                                          Frequency of episodes of incapacity =              (no. of times per week or month, etc.)

                                 (4)          (a) If additional treatments will be required for the condition and/or the patient will be absent
                                                  from work or other daily activities because of treatment on an intennittent or part-time basis,
                                                  provide:
                                                  __ An estimate of the probable number of such treatments.
                                                     __ An estimate of the probable interval between such treatments.
                                                     __ An actual or estimated dates of treatment, if known.
                                                     __ Period required for recovery, if any.

                                              (b) If any of these treatments will be provided by another provider of health services (e.g.,
                                                  physical therapist), please state the nature of the treatment and period of time covered.

                                              ----    -    ..    -       --                        -                                --    -                   --



                                              (c) If a regimen of continuing treatment by the patient is required under your supervision, provide
   TO BE FILLED                                   a general description of such regimen (e.g., prescription drugs, physical therapy requiring
           IN BY                                  special equipment).
    ATTENDING
  PHYSICIAN OR
                 (5)                         (a) During the period of incapacity, is the employee able to perfonn work of !ru: kind?
  PRACTITIONER
      (Please print legibly.)
                                                      (ff/1 in   t;"<"
                                                                     s~ or ~no-)

                                             (b) If able to perform some work, is the employee unable to perfonn any one or more of the
                                                 essential functions of the employee's jt~}fMlA leave or if relevant, a job specification is
                                                 enclosed far your convenience)?
                                                                                     (fill in ;tes· or ·no'}
                                                     lfyes,elaborate.               ~ r~ot. /1:1£;~ fr ~I d,..e_fo
                                                     C/L.r~Mc'r:... ~'¥-VUL           -- 1</o    {...;rA-vf>J-tL ~P'·"><f.
                                                                    II
                                             (c) If neither (4)(a) or (4)(b) applies, is it necessary for the employee to be absent from work for
                                                 treatment?
                                                                        (tiff in ..yes" or ~no")

                                 (6)         The employee will be able to return to                    0   regular or   0   selective work on
                                                                                   (date). If selective work, explain under number (7) below.


                  -   ---       .(7)       _ Additional remarks: _                   ----              ----      ---        ----------           --.--                    -




Name of Physician or Practitioner AND Physician or Practitioner Ucense Number (please type or print)
          KENNETH R. DARDICK, MD
        MANSFIELD FAMILY PRACTICE
                                                                 (_,c
                                                                     /I C.
                                                                              ~        /r-f-J-.3
Address ~!II9F!IIiUD PROFES::>IUNAL n                                                     (C!fY or Town)                        .
                                                                                                                                     (State}             (ZIP Code}
              STORRS, CT 06268

Signed (Physician orPractiti~                          .d_                                Date                                       Telephone
       ..                              .       .A:   A"J             L ~                           C/YJ Htl-                         cf%t; lffro af)J-                -




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  Dr. Helen Jane Fried, Professor, Central Connecticut State University

 Requirements for a full-time professor normally consist of teaching four 3-credit courses for a total of 12
 load hours. Such courses require faculty input during class, preparation for class and assessment of
 student work. Full-time faculty also hold scheduled office hours totaling at least five hours per week
 and attend faculty and/or department meetings.

     1. What is the nature of Dr. Fried's condition or impairment for which she is being treated and
        requesting job modifications? Please include in your description how the condition or

           ;m,.~~~                         -     ~f", ""A....~                           d'.urk., ck/.1
           fi<;f~ ~~:ztM ___d.i~vve v?~~

     2. Since what date has Dr. Fried had this condition or impairment?
                 ;J...::;o ,;-


     3.    For each symptom of Dr. Fried's illness(es), please describe its duration, severity and frequency.
           '~'t·e-,Jh/c: ,1r01/~s -~.,"



     4. What functions or activities does Dr. Fried have difficulty performing as a result of her condition
        andwhy?                                                     /
                4-/:........p(,,.:._ ~ -{if,}v-R £-,.,._,-;:I~ ~/,Tz -;h~ ;fV-
             ~ ~ :2--.i" ~.. -tw·~ ~ ~

     5. With regard to each function or activity listed above, describe in detail how and to what extent
        each is·limited.
                  £e.,_          ?~       + ((     5,.   tf

     6. With regard to each function or activity listed above, please indicate the time period (duration)
        that you anticipa~e each to be limited.      v -                               .-
                ~rc.. ~ M?4teu<;tf""'-                              f    r·#!rovtP/M<-/



    7. To your knowledge, has Dr. Fried been treating with any other physician(s) for this or any other
       condition that has contributed !9 her inability to work? If yes, who?
             /{v.J'.     ~e.C:v< (~/&ry.f


            RENNE I H R. DAR DICK, MD
          MANSFIELD FAMILY PRACTICE
          MANSFIELD PROFESSIONAL PK
              STORRS CT 06268
 Name and Address of Physician or Practitioner                Signed (Physician or Practitioner)/date
crh(;eA•.re..- -;F               17??-5
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            Affidavit of Helen Jane Fried
            Attaclunent- B
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Associations of Perceived Neighborhood
                                                                                                     •
Environment on Health Status Outcomes                                                               Ill
Persons With Arthritis
KATHRYN REMMES MARTIN, fACK SHREFFLER, BRITT A SCHOSTER,                             AND   LEIGH F. CALLAHAN


Objective. To examine the association between 4 aspects of perceived neighborhood environment (aesthetics, walkabil-
ity, safety, and social cohesion) and health status outcomes in a cohort of North Carolinians with self-reported arthritis
after adjustment for individual and neighborhood socioeconomic status covariates.
Methods. In a telephone survey, 696 participants self-reported ~1 types of arthritis or rheumatic conditions. Outcomes
measured were physical and mental functioning (Short Form 12 health survey version 2 physical component and mental
component summary [MCS]), llmctional disability (Health Assessment Questionnaire), and depressive symptomatology
(Center for Epidemiologic Studies Depression Scale scores <16 versus :;:;:16). Multivariate regression and multivariate
logistic regression analyses were conducted using Stata, version 11.
Results. Results from separate adjusted models indicated that measures of associations for perceived neighborhood
characteristics were statistically significant (P :s; 0.001 toP= 0.017) for each health status outcome (except walkability
and MCS) after adjusting for covariates. Final adjusted models included all 4 perceived neighborhood characteristics
simultaneously. A 1-point increase in perceiving worse neighborhood aesthetics predicted lower mental health (B =
-1.81, P = 0.034). Individuals had increased odds of depressive symptoms if they perceived lower neighborhood safety
(odds ratio [OR]1.36, 95% confidence interval [95% CI]1.04-1.78; P = 0.023) and lower neighborhood social cohesion
(OR 1.42, 95% CI 1.03-1.96; P = 0.030).
Conclusion. Study findings indicate that an individual's perception of neighborhood environment characteristics, espe-
cially aesthetics, safety, and social cohesion, is predictive of health outcomes among adults with self-reported arthritis,
even after adjusting for key variables. Future studies interested in examining the role that community characteristics play
on disability and mental health in individuals with arthritis might consider further examination of perceived neighbor-
hood environment.



INTRODUCTION                                                    the influence of the neighborhood (or community) envi-
                                                                ronment on health status outcomes and individual health
Sex and race, as well as individual-level socioeconomic
                                                                behaviors. Area of residence can be particularly important
status (SES) markers such as education, income, and oc-
                                                                given the uneven spatial distribution of goods, services,
cupation, are differentially associated with arthritis (i.e.,
                                                                educational facilities, and resources through natural (e.g.,
incidence, disease severity, access to care, and health out-
                                                                geographic landmarks like lakes and mountains) and man-
comes) (1,2). In efforts to go beyond these individual-level
                                                                made (e.g., political, economic, or self-imposed segrega-
detenninani:s of health and contributors to health dispari-
                                                                tion) clusterings ofindividuals. Typically, there are 3 ways
ties, greater attention is now being given to understanding
                                                                that researchers examine the effect of neighborhood on




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Neighborhood Perceptions and Health Status in Arthritis                                                                     1603


 health: through the use of administrative data (e.g., US              Neighborhood perceptions have also been shown to in-
Census data), through the use of b·ained raters who sys-            fluence specific disease outcomes. Mujahid et al found that
 tematically observe and characterize the physical and/or           individuals who self-reported bettor neighborhood charac-
social attributes of neighborhoods, and through the use of          teristics (e.g., walkability, availability of healthy foods,
self-reported perception of neighborhood conditions (3,4).          safety, and social cohesion) were less likely to be hyper-
   Although the independent effect of neighborhood SES              tensive, even after adjustment for individual-level charac-
on outcomes like mortality, chronic disease, mental                 teristics of age, sex, and SES (education and income) (32).
health, and health behaviors has been established in nu-            Greater perceptions of neighborhood problems (e.g., traf-
merous studies of the general population (5,6) as well as of        fic, noise, trash, smells, and fires] have been associated
older adults (7), the relationship between neighborhood             with lower quality of life, worse physical functioning, and
SES and arthritis outcomes has only recently been estab-            greater depressive symptoms among individuals with
lished (8-12). Several studies conducted in the UK and the          asthma, cross-sectionally (21) and prospectively (33).
US have examined the relationship of community SES and              Greater perceptions of neighborhood problems were also
health outcomes in indivjduals with rheumatoid arthritis            associated with smoking and high blood pressure among
(RAJ (8), inflammatory polyarthritis (9), and systemic lu-          adults with diabetes mellitus (34). To date, no one to our
pus erythematosus (10), as well as lhe prevalence of and            knowledge has examined the role of perceived neighbor-
health-related quality of life in people with self-reported         hood environment on the health outcomes of adults with
arthritis {11,12), using aggregate measures like the                arthritis. The purpose of this study was to examine the
Carstairs score, Townsend score, Index of .Multiple Depri-          association between 4 aspects of the perceived neighbor-
vation, and US Census variables as indirect, "objective"            hood environment (aesthetics, walkability, safety, and so-
proxy for neighborhood characteristics. All have found              cial cohesion} and self-reported health status outcomes in
that living in areas of greater deprivation is related to           a cohort of North Carolinians with self-reported arthritis
poorer arthritis-related outcomes (e.g., physical function-         after adjustment for individual and objective neighbor-
ing, functional disability, and depressive symptoms).               hood SES.
   In addition to these objective measures of the neighbor-
hood environment, attention has been given to the signif-
icance of perceived neighborhood characteristics. Percep-           SUBJECTS AND METHODS
tions can be grounded in observable conditions (13) or
there can be incongruities between perceived neighbor-                 Study design. The North Carolina Family Medicine Re-
hood environment and objective reality (14,15). It has been         search Network (NC,FM-RN) was established in 2001 as an
theorized that neighborhood perceptions are important to            ongoing practice-based research network of family medi-
examine because they can elicit psychosocial or psycho-             cine practices that were purposively sampled to represent
logical processes (13,16-18), or even a physiologic stress          the geographic (urban and rural) and ethnic diversity of
response that can affect mental and physical health                 North Carolina. This network cohort consists of individu-
(19,20).                                                            als who visited a participating practice, are ~18 years of
  Current research aimed at better understanding which              age, gave consent to participate in the research study, and
neighborhood attributes influence health is grounded in             completed a suxvey about demographics, health condi-
the practical and theoretical knowledge generated from              tions, and health habits (35). It is frequently enriched with
decades of social science and public health research (5).           new participants {2004, 2005, 2008) and is used as a source
Constructs borne out of psychology and sociology, such as           population for a variety of additional research studies. The
social disorder and social cohesion, as well as public              flow of participants originating from the NC-FM-RN into
health infrastructure features like the presence of side-           the current study is illustrated in Figure 1.
walks, have been developed as ways to Inore objectively                In 2006, participants who had agreed to be contacted
measure neighborhood characteristics. Typically, re-                (n = 2,420) were mailed a letter inviting participation in a
searchers identify constructs or neighborhood features of           followup telephone survey for the Individual and Commu-
relevance Lo general {e.g., self-rated health) or specific (e.g.,   nity Social Determinants of Arthritis Outcomes Study
cardiovascular or asthma outcomes) health outcomes de-              (SODE). Individuals were eligible to participate in this
pending on their research question (3,5,21).                        study if they were 218 years old, spoke English fluently,
  In studies conducted with the general population, per-            and had current contact information (address and tele-
ceptions of both physical (e.g .. quality, facilities, prob-        phone number). There was a 65.2% participation rate (n =
lems, and walkability) and social (e.g., social cohesion and        1,541}. This followup telephone survey assessed demo-
social control) aspects of neighborhood environment have            graphics, health status, chronic health conditions, health
been linked to self-rated health (22-24), physical function-        attitudes and beliefs, health behaviors, and perceptions of
ing (25), and mental health outcomes (26-30), as well as            neighborhood environment, and it provides the dr~ta for
health behaviors like smoking, drinking, and walking for            the current study.
exercise (29). Among older adults, better self-rated health            Arthritis status was determined using the 2002 arthritis
has been associated with perceiving higher quality in area          module of the Behavioral Risk Factor Surveillance System
facilities, neighborliness (31}, and physical environment           definition of self-reported doctor diagnosis of arthritis.
(16). Mobility disability has also been associated with             Participants were classified as self-reporting arthritis if
lower perceived neighborhood safety among lower-                    they reported any type of doctor-diagnosed arthritis, in-
income, retirement-age adults (13).                                 cluding ostooarlhritis, RA, or fibromyalgia; all measures
                           Case 3:16-cv-00381-JCH Document 1-1 Filed 03/07/16 Page 22 of 75

1604                                                                                                                                                                    Martinet a/


 2001 NC-fM-RN              2004 NC-HA-~N                                                                             component summary (MCS), were used to assess physical
 Cohort
 (,.4766]
                            Enrichment Cohort
                            {n•l93JI(
                                                               NOT ASSESSED FOR HIGt61lHY;                            and mental health functioning. The SF-12 v. 2 is strongly
                                                                   Not l<ll'l<emed to futu.., stud;..s,
                                                                   deceased, laneuage barrier,                        correlated with the Short Form 36 health survey and is
             r
       Auessed lor SOD!: T, dglb~ity
                                    1
                                                                       oo~ddre«andtelepl>one



                                                               EXCLUDED fTotal-1963):
                                                                                                          {1>=2258)
                                                                                                                      reliable in general populations (38). In the current study, it
                                                                                                                      had high internal consistency (Chronbach's a~ 0.90). PCS
                     n:4442                                      L      INEUGIBI..E {""21n
                                                                        Dead                              {no92)      and MCS scores range from 0 to 100, with higher scores
                                                                        languag<" baffler                 {n-41)
                                                                        Medically unable                  (n=9l)
                                                                                                                      indicating better health; both the PCS and MCS were used
                                                                        No t«loplwne, incaroer.oted.
                                                                        Kliv'"mllltarv st'!Vke. or
                                                                                                                      as continuous variables in this study.
                                                                        live ooWde USA.                   (n=l2J         Health Assessment Questionnaire (HAQ}. Self-reported
                                                                • EITIII'S and DupWcates                  (n--39]
            Toni Recru~ed forSOOE T,                            2.  EUGIIli.E&UTNOTREC!IUITED                         function was assessed using the disability scale of the
                     D=J479                                             Refuo.ed IO Partkipate            (n=761)
              Respon"" ttne-39.5%                                       Not able to be contaeled          (""897)     HAQ (39), \vhich includes questions about 20 activities of
                                                                        5ui'Yeye«''O'"                    (rr-281
                                                                                                                      daily living organized by 8 domains (dressing, arising,
                                                                                                                      eating, walking, hygiene, activities, reach, and grip); scores
                                                               NOT ASSISSI'D FOR HIGIBIUTY:
                                                                    R""'ked «>ns'"<>t In future >iudie<,              are adjusted based on the use of assistive devices. Each
        ~..,,...,.   f.,.-SODET,   e!i&ibil~y                       ~a....!, nn addtfi' ar.l pohone (n~S9)

                        n=2UO                                                                                         domain is separately scored, with the total score averaged
                                                                                                                      over the 8 domains. Each item is scored from 0 to 3, ·where
                                                               EXCLUDED{Tola~79]:
                                                                L       INEliGIBlE (n•S7J
                                                                                                                      0 =no disability and 3 = maximum disability; therefore, a
                                                                        Dead                              {n=29)      higher score represents greater disability.
                                                                        Medically ul\ilble                (:.=21)
            Total Re<ru-ed for SODEr,
                                                                        Ba<I;Ktdress, incarter.oted,                     Depressive symptoms. The Center for Epidemiologic
                                                                     Ul\iiVOilabJe le"cth Of study        (n:Jj
                      Jl~l~l
                                                               2.       EliGIBtEDUTNOTREC!lUITtD                      Studies Depression Scale (CES-D} measures symptoms as-
              Res pons~   Rate~&5.2~
                                                                        R~fusE>dto  P8rti<ipale           (n~179j
                                                                        Hot able to be cuntacted          (n-643)
                                                                                                                      sociated with depression in the general population (40)
                                                                                                                      and is a 20-ilem self-report scale yielding scores ranging
  OATAAVAILAEII.E fOR ANALYSIS:                                                                                       from 0 to 60, with higher scores indicating greater levels of
   • Mhriti<                           {n~9'17)
     • Soclodo.mographic              {n•883)                                                                         depressive symptoms. A score of ;:::16 has been determined
       o lnrome                        (tr-860)
       o    Homeown~<Ship              (n-908)                                                                        to be a clinically relevant marker of depressive symptoms
       • Qa:upallon
       • Ae"~tic.
                                       (n=B91)
                                       [n=905)
                                                                                                                      (41}. However, others have suggested using higher cut
       • walk3bl~y                     (n-8%)                                                                         points for greater sensitivity and specificity (42). In this
       • Safely                        (n=-897)
       • Soti;!l Cohe,lon              [n=847)                                                                        current study, we estimate the prevalence of depression
       • Blod'!lroup    Po.ortv        [,..874)
                                                                                                                      and anxiety from a single self-report question to be 33%
Figure 1. Participant recruitment and participation. NC-FM-RN =                                                       (n = 1,541) and 37% in the sample of arthritis-only indi-
North Carolina Family Medicine Research Network; SODE = In-                                                           viduals (n = 937). Given this high prevalence of self-
dividual and Community Social Determinants of Arthritis Out-                                                          reported depression and anxiety, CES-D scores were di-
comes Study; T1 =time                             1; Tz   =time 2.                                                    chotomized at a cut point of 16 (<16 or 2:16) in this study.
                                                                                                                      This scale had high internal consistency in this sludy
were self-reported and questions were closed ended. Pre-                                                              (Chronbach's a~ 0.92).
vious research has indicated that this measure is highly
reliable in general populations for providing arthritis prev-                                                            Main predictors: perceived neighborhood characteris-
alence estimates, particularly in older populations (36,37).                                                          tics. During the telephone survey, participants were asked
In this study, a total of 937 participants self-reported 2:1                                                          to think about the area of within 1 mile of their home and
types of arthritis or rheumatic conditions: osteoarthritis                                                            report on 4 perceived neighborhood characteristics: aes-
(n ~ 484), fibromyalgia (n ~ 118), RA (n ~ 219), bursitis or                                                          thetic environment (7 items), walking/exercise environ-
tendonitis (n ~ 439), carpal tunnel syndrome (n ~ 200),                                                               ment (11 items), safety (3 items), and social cohesion (5
gout (n = 135), or another arthritis condition (n = 111).                                                             items) using a 5-point Likert-rcsponsc format with re-
These respondents were similar, when compared with the                                                                sponse categories ranging from 1 to 5, where 1 = strongly
initial NC-FM-RN cohorl in 2001, in race (76% white                                                                   agree and 5 = strongly disagree. Reverse coding was con-
versus 76%) and sex (73% women versus 71 %). However,                                                                 ducted for certain items to standardize the direction of all
they were more likely to have greater levels of education in                                                          items. For each scale, responses were summed for each
the 2006 survey (56% some college or more versus 50%}.                                                                item, and averaged to create an overall scale score that
Finally, after adjustment for age in 2001, this sample was                                                            ranged from 1 to 5. For example, a score of 1 would
older (24% age =::65 years versus 18%); this is to be ex-                                                             indicate better perception of neighborhood aesthetics and
pected as it is reflective of those who visit family practices,                                                       a score of 5 would indicate worse perception of aesthetics.
as well as an arthritis-only sample. All study materials and                                                          Aesthetic environment, walking environment, and safety
methods were approved by the University of North Caro-                                                                scales were developed by Echeverria et al (3) specifically
lina Biomedical Inslilulional Review Board.                                                                           to examine cardiovascular health outcomes; the social co-
                                                                                                                      hesion and trust scale was developed by Sampson and
  Health status outcomes. Health status outcomes were                                                                 colleagues (43). For clarity and simplicity, these perceived
assessed using the following 4 established measures.                                                                  neighborhood chamcteristics will be referred to as aesthet-
  Physical and mental health functioning. The 2 sum-                                                                  ics, walkability, safety, and social cohesion, respectively.
mary scores of the Medical Outcomes Study Short Form 12                                                               We chose these 4 perceived neighborhood scales because
health survey version 2 (SF-12 v. 2), the SF-12 v. 2 phys-                                                            all have previously been determined to be reliable in a
ical component summary (PCS) and lhc SF-12 v. 2 n1ental                                                               sample of participants with cardiovascular disease (3), and
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Neighborhood Perceptions and Health Status in Arthritis                                                                  1605


we believed these domains may influence physical and              Statistical analysis. Because these perceived neighbor-
mental health outcomes in this sample of participants with     hood scales were created for use among the general pop-
arthritis. Items within each neighborhood dimension had        ulation, we conducted factor analysis on the scale items,
good internal consistency in this study (Cronbach's a val-     fitting a 4-factor solution with an oblique rotation (as-
ues were 0.80 for aesthetics, 0.79 for walking, 0.78 for       suming correlation between the items) from all partici-
safety, and 0.81 for social cohesion). See Appendix A for      pants (n ~ 1,541). The scales performed similarly among
each scale, related items, and those items reverse scored.     those with and without self-reported arthritis, indicating
                                                               no difference by arthritis status in the way that individuals
    Covariates. In this study, covariates lncluded partici-    interpret and respond to the perceived neighborhood ques-
 pant sociodemographics (age, race, and sex), health char-     tions. Statistical analyses were conducted on 696 partici-
 acteristics (body mass index [B.MI] and nrnnber of comor-     pants who self-reported arthritis (after excluding missing
                                                               cases on covariates and the main perceived neighborhood
 bid conditions), individual SES measures {education,
                                                               environment predictors) using Stata, version 11.0 (Stata-
 household income, occupation, and home ownership),
                                                               Corp). Univariate analyses were conducted as we]] as cor-
 and neighborhood SES (block group poverty rate).
                                                               relation and bivariate analyses to examine unadjusted and
    Age was calculated using the participant's self-reported
                                                               adjusted associations between SES variables, perceived
 date of birth and tho date of the telephone survey and was
                                                               neighborhood characteristics, and health status outcomes.
 used as a continuous measure. Race was self-reported and      Separate multivariate Hnear regressions were used for
 based on the 2000 US Census race and ethnicity categories     physical functioning and mental health, and multivariate
 and trichotomized into non-Hispanic white, non-Hispanic       logistic regression analysis was used for depressive symp-
 black, and other, where other includes individuals self-      toms. For each health status outcome, separate regression
 reporting Latina/Hispanic ethnicity or >1 race (American      models were conducted to examine perceived physical
 Indian/ Alaska Native, Asian, Black or African American,      environment (aesthetics and walkability) and perceived
 Native Hawaiian or Other Pacific Islander, White, and         social environment (safety and social cohesion), and were
 Other). BMI (kg/m2 ) was calculated from self-reported        adjusted for age, sex, BMI, number of comorbid condi-
 height and weight and used as a continuous measure.           tions, race, education, homeownership, occupation, in-
 Existing comorbid conditions were assessed by asking par-     come, and block group poverty rate. Finally, for each
 ticipants whether a health professional had ever told them    health status outcome a full model included all 4 per-
 that they had any of 21 different chronic diseases (e.g.,     ceived neighborhood characteristics as main predictors
 diabetes mellitus, heart disease, and vision problems). For   and adjusted for ago, sex, BMI, number of comorbid con-
this paper, the number of coniorbid conditions is a sum of     ditions, race, education, homeownership, occupation, in-
all self-reported conditions, excluding back pain, osteopo-    come, and block group poverty rate.
rosis, psoriasis, high blood pressure, high cholesterol, and
depression/anxiety. These conditions were excluded ei-
ther for their association with arthritis and the health       RESULTS
outcomes of interest or because they tend to be asymptom-
atic.                                                          The 696 participants with arthritis were on average 50
    Because of the close association between individual SES    years old and had a mean BMI of 30 kg/m 2 . They tended to
and neighborhood SES, a number of individual-level SES         be women (73%), white (77%), and educated (56% some
measures were included in the models as covariates. Ed-        college or higher), with a median income of $45,000 (51%
ucation was assessed with 7 categories and later dichoto-      below) and employment in occupations considered pro-
mized as a high school education or less and education         fessional (59%) (Table 1). Participants had mean scores of
beyond high school. Household income was queried using
                                                               38.74 and 51.44 for physical functioning and mental
                                                               health status, respectively, and genera1ly reported low dis-
a stepped approach, with participants answering "Is your
                                                               ability (mean score 0.67}. The majority of participants
annual family income above or below $45,000"; this di-
                                                               (70%} self-reported depressive symptoms scores of <16
chotomy was retained for this study. Occupation was que-
                                                               (Table 1).
ried as open text, coded using the 2000 US Census occu-
                                                                  Preliminary analyses examined for potential effect mod-
pation classification categories, and further refined into
                                                               ification of race and sox for the 4 perceived neighborhood
professional (e.g., management, technical, sales, and of-      characteristic variables on each outcome. No interaction
fice) and nonprofessional (e.g., farming, fishing, service,    terms were significant at P < 0.01 after adjusting the cri-
construction, production, and labor) categories for use in     terion level using a Bonferroni correction for multiple
this study. Home ownership (yes, no) was assessed by           tests, and all likelihood ratio tests were statistically insig-
asking participants "Do you own your own home?"                nificant. Correlation analyses (not shown) indicated that
   Finally, an objective neighborhood SES indicator was        the perceived neighborhood scales were moderately corre-
assessed. Each participant's household was geocoded and        lated with one another (ranging from 0.4 to 0.6; P < 0.001),
linked to a US Census 2000 block group, with each partic-      indicating a shared variance. Low correlation (ranging
ipant assigned a block group poverty rate (percentage of       from 0.2 to 0.3; P < 0.001) was also observed for the
households with income below the poverty line). This           relationship between each perceived neighborhood char-
variable was used as a continuous variable, with higher        acteristic and health status outcome. Bivariate analyses
rates indicating greater neighborhood poverty.                 revealed that lower individual-level income, less educa-
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                 Table 1. Participant sociodemographic characteristics, neighborhood characteristics, and outcomes
                                                            (n = 696)*

                                                                                              Value                          Range

            Sociodemographic characteristics
              Ago, years                                                                 60.41 ± 12.69                       23-94
              BMI, kg/m'                                                                   29.9::!:: 6.8                     15-64
              Comorbid c.:ondition count                                                       3±2                            0-11
              Income <$45,000, %                                                                51
              Race,%
                Non-Hispanic white                                                               77
                Non-Hispanic blnck                                                               16
                Other                                                                             7
              Women,%                                                                            73
              High school education or less, %                                                   44
              Homeowner, %                                                                       84
              Professional occupation, %                                                         59
            Perceived neighborhood characteristics
              Aesthetics (1-5)                                                             2.23 ± 0.69                        1-5
              Walkability (1-5)                                                            2.70 ± 0.67                        1-5
              Safety (1-5)                                                                 2.26 ::!:: 0.86                    1-5
             Social cohesion (1-5]                                                         2.27 ± 0.72                        1-5
            Objective neighborhood
             Block group poverty level                                                    12.55 ± 8.72                        0-51.37
            Health status outcomest
             Physical functioning, SF-12 v. 2 PCS score {0-100)                          38.74 ± 12.86                    5.68-61.57
             Mental health, SF-12 v. 2 MCS score (D-100)                                 51.44   .:!:_   11.08            8.99--75.24
             Disability, HAQ score (0-3)                                                  0.67   .:!:_   0.64                 0-3
            Depressive symptoms by CES-D score, %
             Score <16                                                                           70
             Score ;:::::16                                                                      30

            *Values are the mean::':: SD unless otherwise indicated. BMI =body muss index; SF-lZ v. 2 =Short Form 12 version 2; PCS =
            physical component summary; MCS = mental component summary; HAQ =Health Assessment Questionnaire: CES-D = Center
            for Epidemiologic Studies Depression Scale.
            t Number of participants varies ~or outcomes: for PCS and MCS scores, n = 689, for the HAQ, n = 696, and for the CES-D, n =
            669.


tion, nonhomeownership, and nonprofessional occupa-                          hood aesthetics, walkability, or social cohesion resulted in
tions were significantly associated with worse perception                    a nearly 2-point decline in physical functioning, and a
of neighborhood aesthetics, walkability, safety, and social                  1-unit increase of neighborhood aesthetics, safety, or so-
cohesion (with the exception of perceived walkability and                    cial cohesion also resulted in an average decline of 2
homeownership; P = 0.547). Examination of block group                        points on mental health functioning. Disability scores
poverty as an objective measure of community SES                             were higher for those perceiving worse neighborhood
showed a modest correlation between aesthetics (r = 0.18;                    characteristics. A 1-unit increase in perceived neighbor-
P < 0.001), walkability (r = 0.07; P = 0.055), safety (r =                   hood aesthetics resulted in odds 1.79 times higher of re-
0.17; P < 0.001), and social cohesion (r = 0.12; P = 0.001)                  porting greater depressive symptoms (95% confidence in-
(Table 2).                                                                   terval[95% Cl) 1.34-2.38, P < 0.001). A 1-unit increase in
   The neighborhood percoplions were measured on a                           perceived neighborhood walkability (odds ratio [OR) 1.59,
scale of 1-5, with increasing numerical value implying                       95% CI 1.19-2.12; P = 0.002), safety (OR 1.68, 95% CI
worsening perceptions. In the following presentation of                      1.35-2.10; P < 0.001). or social cohesion (OR 1.84, 95% CI
lhe regression results, all allusions to worse or lower per-                 1.42-2.40; P < 0.001) also increased the odds of self-
ception will refer to a 1-unit increase in the perception                    reporting greater depressive symptoms.
scale. Regression analyses examining the bivariate rela-                       Multivariate regression and multivariate logistic regres-
tionship (not shown) between each perceived neighbor-                        sion analyses examining the association between all 4
hood characteristic and each health status outcome re-                       perceived neighborhood characteristics and health status
vealed strong relationships; unadjusted models indicated                     outcomes are reported in Table 4. No statistically signifi-
that each perceived neighborhood characteristic was sta-                     cant association existed between perceived neighborhood
tistically significant (P < 0.001) for each health status                    characteristics and physical functioning after adjusting for
outcome. These relationships remain, although slightly                       individual-level covariates and objective neighborhood
attenuated (P ::::: 0.001 to P = 0.017}, in separate models                  SES. Perceiving worse neighborhood aesthetics and lower
adjusting for age, sex, BMI, number of comorbid condi-                       social cohesion were associated with a trend for greater
tions, race, and individual and neighborhood SES covari-                     disability. Individuals perceiving worse neighborhood
ates (Table 3). A 1-unit increase (worsening) of neighbor-                   aesthetics sr.orcd nearly 2 points lower on mental health,
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              Table 2. Bivariate analysis of individual- and community-level SES and perceived neighborhood characteristic scores*

                                                 Aesthetics                  WalkabiJity                   Safety                    Social cohesion

   Individual SES measurest
     Income
       2':$45,000                                2.04 :± 0.65                2.56 :±: 0.66              2.04 :±: 0.78                  2.11 ± 0.65
       <$45,000                                  2.40 :±: 0.68               2.83 :±: 0.63              2.49 :±: 0.88                  2.43 :±: 0.74
       p                                           < 0.001                     < 0.001                    < 0.001                        < 0.001
     Education
       Beyond high school                        2.13   = 0.74               2.65 ::±: 0.72             2.20 :±: 0.88                  2.23 :±: 0.75
       High school or less                       2.37 :±: 0.60               2.78 ::±: 0.57             2.38 :±: 0.84                  2.36 :±: 0.68
       p                                           < 0.001                      0.008                      0.010                          0.011
     Occupation
       Professional                              2.12 :±: 0.70               2.65 :±: 0.71              2.20 :±: 0.84                  2.19 :±: 0.70
       Nonprofessional                           2.40 :±: 0.64               2.79 :±: 0.58              2.39 :±: 0.89                  2.42 :±: 0.73
       p                                           < 0.001                      0.006                      0.005                         < 0.001
     Homemvner
              Yes                               2.19 :±: 0.70                2.70 :±: 0.67              2.25 ± 0.88                    2.24 :±: 0.72
      No                                        2.42 :±: 0.64                2.74 :±: 0.62              2.46 :±: 0.79                  2.52 :±: 0.70
      p                                             0.002                        0.547                      0.015                       < 0.001
   Community SES measure:J:
    Block group poverty, r                           0.18                        0.07                       0.17                           0.12
       p                                          < 0.001                        0.055                   < 0.001                           0.001

    ~ Values are the mean .± SO unless otherwise indicated. Higher values of neighborhood characteristics indicate worse perception. SES   =   socioeco-
   nomic status.
   t By t-test.
   :j: By conelalion.




even after adjusting for covariates (B = -1.81, P = 0.034}.                     DISCUSSION
A trend for scoring 1.25 points lower on mental health was
observed for individuals reporting lower perceived neigh-                       Our study revealed that different perceived neighborhood
borhood social cohesion (B ~ -1.25, P ~ 0.077). Individ-                        characteristics emerged as significant factors for physical
uals had 1.36-times greater odds of reporting depressive                        and mental health outcomes in this sample of individuals
symptoms if they perceived lower neighborhood safety                            with arthritis. Although nearly all perceived neighborhood
(95% CI 1.04-1.78, P ~ 0.023) and 1.42-times greater odds                       characteristics were statistically significant predictors in
of reporting depressive symptoms if they perceived lower                        separate models, these relationships did not remain in the
neighborhood social cohesion (95% CI 1.03-1.96, P ~                             full model with all 4 perceived neighborhood characteris-
0.030). A trend was observed for individuals perceiving                         tics, reflecting the shared variance among the 4 perceived
worse neighborhood aesthetics and lower neighborhood                            neighborhood characteristics to predict health outcomes.
social cohesion to score nearly one-tenth of a point higher                     Perceiving worse neighborhood aesthetics was indepen-
on the disability scale (B ~ 0.09, P ~ 0.052 and B ~ 0.06,                      dently associated with scoring nearly 2 points lower on
P = 0.084, respectively}. Considering statistically signifi-                    mental health, as well as indicating a trend for having a
cant covariates in general, poorer outcomes were related to                     higher disability score [B ~ 0.09, P ~ 0.052). Individuals
being older and having a higher BMI, a greater number of                        who perceived lower neighborhood safety and social co-
comorbid conditions, and less education and income.                             hesion had increased odds of reporting depressive symp-

        Table 3. Adjusted parameter estimates {B), SEs, and ORs {95% Cis) for perceived neighborhood physical environment and
                                            social environment and health status outcome*

                                    Physical functioning,              Disability,             Mental health,              Depressive symptoms,
                                           B (SE)                        B (SE)                   B (SE)                       OR (95% Cl)
               Model                     (n ~ 689)                     (n = 696)                (n ~ 689)                       (n ~ 669)

  1.    Aesthetics                      -2.43 (0.63)t                 0.15   (0.30)t            -2.54   (0.61)t               1.79   (1.34-2.38)t
  2.    Walkability                     -2.41 (0.65)t                 0.12   (0.03)t            -1.22   (0.63)t               1.59   (1.1<>---2.12)§
  3.    Safely                          -1.19 (0.50)~                 0.09   (0.03)t            -1.88   (0.48)t               1.68   (1.35-2.10)t
  4.    Social cohesion                 -].92 (0.59)§                 0.13   (0.03)t            -2.32   (0.57)t               1.84   (1.42-2.40)t

  "' Models adjust for age, sex, body mass index, number of co morbid conditions, race, education, homeownership, occupation, income, and block group
  poverty. OR= odds ratio; 95% CI = 95% confidence intervaL
  t p   ::5   0.001.
  +p <        0.10.
  §P::o;o.Ol.
  '!I p < 0.05.
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                         Table 4. Perceived neighborhood environment, SES variables, and health status outcomes*

                                          Physical functioning,             Disability,                Mental health,        Depressive symptoms,
                                                   B(SEl                     B (SEl                       B (SEl                      OR (95% Cll
                                                 (n = 6891                   (n   = 6961                 (n   = 6891                   (n = 6691

   Aesthetics                                  -1.25    {0.891               0.09   {0.04lt            -1.81    (0.851>           1.20   (0.81-1.771
   Walkability                                 -1.29    (0.831               0.02   {0.041               1.04   (0.801            1.03   {0.71-1.491
   Safety                                        0.11   (0.611               0.03   (0.031             -0.95    (0.591            1.36   {1.04-1.781*
   Social cohesion                             -1.29    (0.731               0.06   (0.04lt            -1.25    (0.71lt           1.42   (1.03-1.961*
   High school or below                          2.76   {0.951§            -0.07    (0.051               0.97   (0.911            0.57   (0.38-0.891§
   Homeowner                                    0.031   {1.181             -0.04    {0.061             -0.93    {1.131            1.05 (0.65-1.73)
   Professional occupation                       1.15   (0.991             -0.05    {0.051               0.78   {0.951            0.75 (0.4!>-1.161
   <$45,000 household income                   -2.66    {1.02)§              0.17   (0.0511            -2.77    (0.981§           2.26 {1.42-3.59)1
   Block group poverty level                     0.04   {0.05)            -0.002    {0.01 l              0.06   (0.051            1.00 {0.98-1.021

   * Models adjusted for age, sex, race, body mass index, and number of comorbid conditions. SES   =   socioeconomic status; OR   =   odds ratio: 95% CI =
   95% confidence interval.
   t P< 0.10.
   :tP< 0.05.
   §p      <    0.01.
   'll p   :5   0.001.




 toms by 1.36 and 1.42 times, respectively. There was also                    more, Maryland; New York, New York; St. Paul, Minne-
 a trend for those who perceived worse neighborhood so-                       sota; Forsyth County, North Carolina; and Cook County,
 cial cohesion to have a lower mental health score (B =                       Illinois (the second most populous county in the US after
 -1.25, P = 0.077) and a higher disability score (B = 0.06,                   Los Angeles counly) (32). Additionally, previous research
 P = 0.084). Finally, analyses (not shown) examining the                      indicates that individual-level SES plays a significant role
 CES-D at a cut point of 23 (<23, "'23) revealed that both                    in physical and mental health outcomes among individu-
 the strength and significance of perceived neighborhood                      als with arthritis, low income, and low education, placing
 safety and perceived social cohesion are attenuated to OR                    individuals at greater risk for poorer health outcomes.
 1.31, P = 0.080 and OR 1.41, P = 0.062, respectively,                        Given that neighborhood perceptions (aesthetics, safety,
 indlcaling a continued trend lhal neighborhood percep-                       and social cohesion) continue to play a significant role in
tions may play an important role in major clinical depres-                    health outcomes, above and beyond individual-level (e.g.,
sion beyond individual-level characteristics.                                 higher income and education) and neighborhood-level
   Although there is no clear pattern of one or more per-                     SES, we conclude that the role of perceived neighborhood
ceived neighborhood characteristics definitively emerging                     environment is an important predictor of physical and
as predictive of the physical and mental health outcomes                      mental health. Findings from this research suggest that
examined in this study, perceived aesthetics, safety, and                     future researchers should consider the importance of the
social cohesion do emerge as neighborhood characteristics                     perceived neighborhood environment (aesthetics, safety,
worthy of additional attention in futUl'e studies conducted                   and social cohesion) when examining the influence of
in an arthritis population. Although findings from studies                    place on health, particularly mental health, in individuals
examining perceived neighborhood environment prob-                            with arthritis.
lems and mental health outcomes have been mixed (7), our                         Several limitations shoulf{ be noted, however. This
study findings are in line with several studies (44-46),                      study was cross-sectional and therefore we cannot assert a
including a recent study by Mair et al (30). They found that                  causal relationship between perceived neighborhood en-
perception of poor aesthetics, greater violence, and lower                    vironment and health status outcomes. Additionally, we
social cohesion were associated with greater depressive                       do not have data on participants' length of residence.
symptoms (measured with the CES-D) in cross-sectional                         Knowledge of how long participants had lived in their
analyses of a large, population-based cohort study of healthy                 particular home and neighborhood would have allowed
adults ages 45-84 years (30). These findings, combined                        for adjustment of potential confounders, such as the effect
with our own in an arthritis-only population, suggest that                    of having established social connections within the neigh-
perceived neighborhood aesthetics, safety, and social co-                     borhood or being witness to neighborhood environment
hesion do play a role in health outcomes, particularly                        change over time (i.e., from either good to bad or bad to
mental health, even when controlling for individual- and                      good).
neighborhood-level SES variables.                                                Previous research has warned of same-source bias when
   The current study is unique in examining and confirm-                      examining the relationship between individual percep-
ing that these associations exist among individuals 'i:l.rith                 tions and individual health outcomes, indicating that
arthritis residing in largely rural areas of North Carolina, a                other characteristics may influence one's perception (3).
population in which these instruments have not previ-                         Because our study aimed to examine whether individual
ously been used. Prior studies have generally examined                        perception of neighborhood environment influenced
perceived neighborhood environment in more urban areas                        health outcomes for individuals with arthritis, 1rve ob-
such as London, UK (25); Adelaide, Australia (47); Balti-                     tained both perceived neighborhood characteristics and
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 health status outcomes from the smne group of individu-          nally, we thank the individuals who willingly participated
 als. V!/e cannot adjust for the possibility that those vvith     in the study.
 lower mental health at the time of the survey have biased
 neighborhood perceptions gi von the cross-sectional nature
 of our study, although we were able to adjust for physical                           AUTHOR CONTRIBUTIONS
 health (count of comorbid conditions), a theorized co-              All authors were involved in drafting the article or revising it
 founder. Additionally, the 937 participants who self-            critically for important intellectual content, and all authors ap-
reported arthritis represent 480 block groups (63 individ-        proved the final version to be submitted for publication. Dr. Cal-
                                                                  lahan had full access to all of the data in the study and takes
 uals not assigned a block group, and 293 individuals who         responsibility for the integrity of the data and the accuracy of the
are the solo representative for their block group). The           data analysis.
remaining 581 participants represent 187 block groups,            Study conception and design. Callahan.
and the intraclass (or intraneighborhood) correlation coef-       Acquisition of data. Martin, Schoster, Callahan.
                                                                  Analysis and interpretation of data, Martin, Shreffler, Callahan.
ficient (ICC) reveals very little agreement in the scale
scores between block groups for each perceived neighbor-
hood: aesthetics ICC 0.079, walkability ICC 0.180, safety         REFERENCES
ICC 0.089, social cohesion ICC <0.001). We believe that
the low ICC is a function of nearly 94% of the block groups        L Cenlers for Disease Control nnd Prevention (CDC). Racial/
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Neighborhood Perceptions and Health Status in Arthritis                                                                       1611



                  APPENDIX A. PERCEIVED PHYSICAL AND SOCIAL NEIGHBORHOOD ENVIRONMENT ITEMS*

                  Aesthetic environment
                     1. My neighborhood is attractive
                     2. There is a lot of trash and litter on the street in my neighborhood+
                     3. There are interesting things to do in my neighborhood
                     4. There is enjoyable scenery in my neighborhood
                     5. There is a lot of noise in my neighborhood+
                     6. In my neighborhood the buildings and homes are well maintained
                     7. The buildings and houses in my neighborhood are interesting
                  Walking/exercise environment
                     1. My neighborhood offers many opportunities to be physically active
                     2. Local sports clubs and other providers in my neighborhood offer many opportunities to
                        get exercise
                     3. It is pleasant to walk in my neighborhood
                     4. There are enough trees in my neighborhood to provide shade
                     5. My neighborhood has heavy traffic+
                     6. There are busy roads to cross when out for walks in my neighborhood+
                     7. In my neighborhood it is easy to walk to places
                     8. There arc stores within walking distance of my home
                     9. In my neighborhood, the streets and sidewalks are in good condition
                    10. I often see other people walking in my neighborhood
                    11. I often see other people exercise (e.g., jog) in my neighborhood
                  Safety from crime
                     1. I feel safe walking in my neighborhood during the evening
                     2. My neighborhood is safe from crime
                     3. Violence is a problem in my neighborhood+
                  Social cohesion
                     1. People around here are willing to help their neighbors
                     2. This is a close-knit or unified neighborhood
                     3. People in this neighborhood can be trusted
                     4. People in this neighborhood generally don't get along with each other+
                     5. People in this neighborhood do not share the same values+

                  * Response categories were: strongly agree, agree, do not agree or disagree, disagree, strongly disagree.
                  t Reverse-coded.


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           ENVIRONMENTS AND HEALTH: PLANNJNG DECISIONS
                            AS PUBLIC-HEALTH DECISIONS


                                                                                           Nancy M Wells
                                                                                           Gary W. Evans
                                                                                              YizhaoYang




Although planning decisions have profound public-health implications, planning-health linkages have
received relatively little attention in recent decades. Moreover, on the few occasions when such
connections have been made, health outcomes have been narrowly construed, ignoring a wide array of
well-documented linkages between the physical environment and human health. Planning decisions
directly ilifluence the character and quality of housing and neighborhoods including the external density
ofcommunities, the presence and size ofparks, air and water quality. land-use mix, the height and size of
residential structures, transit-mode mix, traffic density, retail-store location, road geometry, and
community noise levels. Environmental characteristics of home and neighborhood, in turn, directly or
indirectly affect physical health and psychological well-being. This paper presents a framework for
considering the impact of planning decisions on a wide range of health issues. Empirical data from
medical and social sciences illustrate connections between health outcomes among residents and
residential-environment characteristics influenced by planning. This paper presents a critical summary
of the current knowledge and the quality of the evidence. Where appropriate, we also note theoretically
plausible leverage points where planning decisions may affect health, but which require further research
to test their effects on health-related outcomes.




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INTRODUCTION
"The proposed project will bring jobs, bolster the local economy, and be an asset to this community," the
developer explains. It's Tuesday, 9:20p.m., and members of the town planning committee are considering the
seventh item ofbusiness at the monthly meeting. The developer has done her due diligence, presenting her
environmental-impact statement and an economically based argument for the acceptance ofher proposal. A
community member raises his hand:
  How will this affect our health? How will it influence the health of our children today and decades
  from now? It's time we start being more proactive and thinking about the positive or negative effects
  that our decisions may have on the health and well-being of current and foture generations.
  Although some members of this community may reap immediate, short-term financial gains by the
  proposed plan, I think the developer 's analysis is fUndamentally flawed. We need to be proactive,
  make evidence-based decisions, and recognize that low-income families are going to bear a
  disproportionate share of the adverse health impacts of this proposal. There are relevant research
  data out there. Let's use it to ensure a betterqualityof/ifeforall members ofthe community, rich and
  poor, for the present and for generations to come.

Planning and Health: A BriefHistorical Perspective

The idea that planning theory and practice have potentially critical effects on human health and welfare is
not new. During the industrialization of the 1800s and 1900s, epidemics of infectious diseases such as
cholera, typhus, and tuberculosis were associated with poor housing conditions and led to sanitation
reform efforts (Rosen, 1958) and, in the mid-1800s, passage ofthe New York Metropolitan Health Bill and the
New York Tenement House Law. In the 1900s, the Progressive Era housing reformers worked to eliminate the
dark, filthy, crowded conditions in housing tenements, relying on linkages with disease to make their case
(Frank, eta/., 2003; Frumkin, et at., 2004).

The efforts of Progressive Era reformers laid a foundation for zoning and focused on reducing
congestion in the early 20th century (Frank, eta/., 2003; Sloane, 2006). Interest in decentralization,
motivated in part by concern for the population's physical health and well-being, led to zoning used
to segregate housing types, set parameters for residential lot size, and separate residential, commer-
cial, and industrial uses. In 1926, Village ofEuclid, Ohio, v. Ambler Realty Co. established the legiti-
macy of zoning ordinances based on the notion that zoning was a tool for protecting the health and
welfare of citizens (U.S. Supreme Court, 1926).

Given that planners have historically been motivated by concerns about public health, why does the
community member's question seem novel? First, the comment is unusual in the contemporary planning
context because the explicit connection with public health has not been as salient as economic concerns.
Second, the community member raises concerns about potential income disparities in the adverse health
impacts of development. Third, the perspective is novel because he proposes a proactive, forward-looking
approach to planning-health linkages, while historically the planning field has responded reactively to
health crises such as cholera and tuberculosis in the early 1900s. Fourth, his question implies a more
inclusive view of health, extending beyond infectious-disease control. Lastly, he suggests the use ofhealth-
related research evidence in the decision-making process.

This paper presents evidence that "planning" decisions are often, in effect, "public health" deci-
sions (see Figure 1). We provide an overview of a wide range of environmental characteristics that
planning decisions influence and which in tum affect health among both the general population and
those at risk for inequities in environmental exposure- particularly low-income and racial minority
communities. With evidence from public health, medicine, sociology, psychology, and planning, we
illustrate the relevance of planning decisions for health. We then present a new framework for linking
planning and healthy housing. We argue that health ought to be an explicit component of planning
decision making.
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        Planning Decisions I                    Residential Environment                     Health and Health
          Leverage Points                           Characteristics                        Behavior Outcomes


                 FIGURE 1.     Schematic overview of planning, the residential environment, and health.


PLANNING MATTERS

Contemporary U.S. Public-Health Issues

A plethora of health problems face the United States' population today. Approximately 3% of adults aged 18
years and over living in the United States experienced serious psychological distress during the past 30 days
(CDC, 2007b). An estimated 4.4 million children aged 4-17 have been diagnosed with attention deficit!hyperac-
tivity disorder (ADHD) (CDC, 2005a). Sixty percent ofthe United States population is either overweight (36%)
or obese (24%) (CDC, 2007a). Approximately 18% ofchildren and adolescents aged 6-19 are overweight (CDC,
2008c). Heart disease and stroke are the leading causes of death in the United States for both women and men,
accounting for more than a third of fatalities (CDC, 2008b). The rate of diabetes in the total population is 8%, but
among ethnic minority groups, the rates are significantly higher (CDC, 2007c). Approximately 4.3% ofpersons
of all ages experienced an episode of asthma in the past 12 months (CDC, 2007d). Nearly 200,000 people are
diagnosed with lung cancer, the deadliest of all cancers, each year (CDC, 2004, 2005b). These public-health
challenges range from psychological to physical. Wbat do these diseases and ailments have in common? All
are health problems with significant environmental causes (Friis, 2007; Wigle, 2003). Through daily decisions
about policy, design, and practice, planners influence community health. Here's how.

How and Why Planning Matters

According to the World Health Organization (WHO) (1946), health is "a state of complete physical, mental
and social well-being and not merely the absence of disease or infirmity."The U.S. Department ofHealth and
Human Services' (2001) publication Healthy People 2010 indicates that "environmental health" comprises
  those aspects ofhuman health, disease, and injury that are determined or influenced by factors in the
  environment ... not only pathological effects ofchemicals [and] biological agents, but also the effects
  on health of the broad physical and social environment, which includes housing, urban
  development, land-use and transportation, industry and agriculture.

Broadly speaking, planning impacts health by affecting the physical, chemical, biological, social, and
psychosocial factors in the environment. Specifically, planning's health impacts are transmitted through
decisions and actions concerning housing, urban development, land use, and transportation. Planners
influence the size of the yards around homes; the configuration of neighborhoods; the number and
character of parks and open space in a community; the quality of the air and water; the character, height,
and density of housing; and the overall character of our communities. Planning also affects the distribu-
tion of environmental quality across neighborhoods, cities, towns, and wider regions. Socioeconomic
status (SES) is a powerful sbaper of physical and psychological morbidity (Adler, eta/., 1993). A primary
reason for the strong relation between low SES and compromised health in America is the elevated risk of
exposure to cumulative environmental risk factors accompanying low-income living (Evans and
Kantrowitz, 2002).

Planning decisions are leverage points- small actions that can translate into big influences. The potency
of a decision or a leverage point can be considerable. Planning decisions can both set policies that affect
land-use practices county-wide and influence the design, character, or use of a specific lot, neighborhood,
or region. We consider four dimensions of the environment- (I) nature and open space, (2) elements of
urban form, (3) the food systems, availability, and affordability, and (4) housing characteristics and quality
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                                                                          - linking physical manifestations of
                                                                          planning to health outcomes. Rather
                                                                          than exhaustively reviewing the evi-
                                                                          dence, we sununarize what is known or
                                                                          suspected about each dimension and
                                                                          describe the strength of the evidence
                                                                          for each.
                                                             •green
                                                             • barren     Nature and Open Space

                                                                       One way planners affect a com-
                                                                       munity's physical environment is
         not at all      a little somewhat     quite       very
                                                                       through impacting the amount and
                                                                       character of opeo space. Through the
                    Ineffective Management of Major Issues
                                                                       planning process, land can be desig-
                                                                       nated as a city or town park or for de-
        FIGURE 2. Nearby nature and urban residents' capacity to       velopmeot, for example. Similarly, plan-
          cope with poverty: histogram of life functioning score
      by green versus barren conditions. Adapted from Kuo (200 1).
                                                                       ners help to set rules about the amount
                                                                       of open space required when a new
                                                                       neighborhood is created. Open space
is an amenity that community members may appreciate, but it is not typically viewed as a health issue. Yet,
there is a growing body ofliterature suggesting that access to nature or green space has a variety of positive
effects on human health (see Frumkin, 2001; Louv, 2005). Furthermore, access to nature and open space is
tied to SES. For instance, a poor child living in New York City has access to an average of 17 square yards of
park space, compared to the 40 square yards of park space accessible to his middle- and upper-class
counterparts (Sherman, 1994).

Frederick Law Olmsted, designer ofNew York City's Ceotral Park and Boston's "emerald necklace" ofparks,
was one ofthe first to articulate the beneficial effects of the natural environment and to advocate for urban
open space. Olmsted (1865/1952:21) wrote, "The enjoyment of scenery employs the mind without fatigue
and yet exercises it, tranquilizes it and yet enlivens it; and thus, through the influences of the mind over the
body gives the effect ofrefreshing rest and reinvigoration to the whole system." In fact, Olmsted's prescient
sentiments have beeo borne out by research evidence.

Access to or views of the natoral environment are linked with cognitive functioning (Kaplan, 1995; Kaplan
and Kaplan, 1983). The natural environment helps people recover from cognitive fatigue by capturing
involuntary attention (i.e., fascination). Access to nature has been associated with enhanced cognitive
functioning among children (Wells, 2000a), backpackers (Hartig, eta/., 1991 ), college students (Teonessen
and Cirnprich, 1995), girls in Chicago public housing (Faber Taylor, eta/., 2002), and low-income urban
women (Kuo, 2001 ). For example, 145 residents of Chicago public housing randomly assigned to architectur-
ally identical buildings with or without nearby trees and grass were compared using measures of functioning
and well-being. Residents living in settings lacking vegetation reported more procrastination in dealing with
their major life challenges and indicated that their problems were more severe, long-standing, and insoluble.
Consistent with prior research on the restorative effects of nature, the underlying explanation for these
differences was higher levels of cognitive functioning among resideots of buildings with trees and grass
(ibid.) (see Figure 2).

In addition, recent evidence suggests that there may be a parallel between cognitive fatigue and ADHD.
Symptoms ofADHD appear to be reduced by exposure to nature (Faber Taylor, eta/., 2001; Kuo and Faber
Taylor, 2004).

Trees and natural areas may also be a mechanism to draw people together, enhance social connections, and
bolster a sense of community. Studies oflow-income urban residents have found that spaces with trees and
vegetation are associated with more social interaction (Coley, eta/., 1997) and strongerneighborhood social
ties among both younger (Kuo, eta/., 1998) and older adults (Kweon, eta/., 1998). In a study ofrural children,
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TABLE 1. Swrumuy of planning decisions as leverage points that affect the envirorunent and, in turn, health (based on
Wrigley, et a/., 2003).

Planning Decisions/                                     Residential-Environment              Health and Health-Behavior
Leverage Point                                          Characteristics                      Outcomes

Nature and Open Space
Comprehensive Plan/General Plan                         Proximity to pari<                   Cognitive functioning
(esp. function plans related to                                                              ADHD
open-space system)                                      Access to nature, open space         Neighboffiood social ties
                                                                                             Recovery from illness
Zoning and Subdivision Ordinances                       Views of nature                      Longevity
Oand-use type, density, incentive                                                            Physical activity
zoning to obtain open space,
open-space and conservation
requjrements, landscape ordinances)

Other Land-Use Policies (encourage
compact and mixed development
through planned unit developmen~
cluster and incentive zoning)

Urban Fonn
Comprehensive Plan/General Plan                         External density                     Car use
(esp. 1\mction plans related to                         Lot sizes                            Physical activity
transportation   and   street                                                                Obesity
planning)                                               Mixed use                            Stress
                                                        Street network plans                 Cardiovascular disease
Zoning (land-use type, density)                         Road geometry
                                                        Mass-transit availability            Social interaction
Other Land-Use Policies (encourage                      Traffic volume                       Social connections
compact and mixed development                                                                Sense of community
through planned unit developmen~
cluster zoning; zoning overlay districts)

Food Environment
Zoning Oand-use type)                                   Mixed use                            Diet (i.e., fruit and vegetables)
                                                        Proximity to supermarket             Physical activity

Housing
Zoning and Subdivision Ordinances                       Building height                      Injuries
(land-use type, density, allowable                                                           Psychological distress
building heigh~ minimum setbacks,                       Housing type                         Social isolation
lot dimensions, floor area ratios,                                                           Strained social relationships
street standards for sidewalks,                         Housing quality                      Physical health
parlcing requirements)                                                                       Safety
                                                        Interior density                     Physiological stress
                                                        (i.e., people/room)                  Rednced social support



nearby nature was also found to bolster psychological resilience in the face of life stressors (Wells and
Evans, 2003).

The natural environment has been associated with physical health and recovery from illness. Patients with
views of nature recover more quickly from surgery, request less pain medication, and have shorter hospital
stays (Ulrich, 1984). A study within a prison found that inmates with natural views visited the infirmary less
often (West, 1986). Since hospital patients and prison inmates do not choose which room they inhabit, these
effects of nature are not attributable to personality or some other individual characteristic. The environment
influences health. Among older urban-dwelling adults, having space to take a walk and the presence of parks
and tree-lined streets near the residence predicts longevity (Takano, eta/., 2002). Age, sex, marital status,
and SES were statistically controlled in this study.

Proximity to parks and open space has been associated with higher rates of physical activity (e.g.,
Macdonald, 2007). Most of this evidence is of an associational, rather than causal, nature. In a study of
nearly 7,000 adults living in European cities, Ellaway, eta/. (2005) found that among those living in residential
areas with high levels of greenery, the likelihood ofbeing physically active was three times greater and the
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         120
                                                                                 likelihood of being overweight or
                                                                                 obese was 40% less than for those liv-
         100                                                                     ing in the least green setting. Similarly,
                                                                                 Giles-Corti, et a/. (2005) found that
          80
    •                                                                            Australians with access to large, at-
   3c                                                                            tractive public open space were 50%
   •~     60
  ..      40
                                                                                 more likely to achieve high levels of
                                                                                 walking.
          20

          0
              1940   1950     1960         1970          1980
                                                                   I
                                                                1990   2000
                                                                                 Planning decisions that increase
                                                                                 people's access to trees, parks, and
                                                                                 open space may contribute to better
                                                                                 cognitive functioning and positive
                                     Median Year Buift
                                                                                 psychological well-being, encourage
                                                                                 social connections and sense of com-
          FIGURE 3. Percentage of single-family development units
          within 114 mile of commercial uses by age of neighborhood.             munity, and promote physical activity.
                     Adapted from Song and Knaap {2004).                         Decisions that minimize the concen-
                                                                                 tration of poverty in residential com-
                                                                                 munities or interfere with the cascade
         120                                                                     of environmental inequities accompa-
                                                                                 nying lower SES (including access to
         100
                                                                                 nature) can produce dramatic shifts in
         80                                                                      community health (see Table I).
   !1,
  :1c
         60                                                                      Elements of Urban Form
  ..••
   ~




                                                                  I
         40
                                                                     Planning exhibits a clear impact on
         20                                                          the character of the physical land-
                                                                     scape. Through zoning regulations,
       0                                                             subdivision ordinances, and other
        1940      1950      1960      1970        1980   1990  2000  land-use (e.g., growth management)
                                Median Year Built                    policies, planning decisions affect
                                                                     various elements of urban form and
      FIGURE 4. Percentage of single-family development units        urban development ranging from
          within 1/4 mile of bus stops by age of neighborhood.       gross controls of density, land-use
                 Adapted from Song and Knaap (2004).                 mix, noise attenuation, transporta-
                                                                     tion systems, and street patterns to
specific streetscape features such as the presence of front porches, sidewalks, and trees. These environ-
mental features, in turn, directly or indirectly affect health.

A compelling example of the potential influence of planning practices is provided by the regional govern-
ment of Portland, Oregon, which in 1991 began work on the 2040 "Growth Concept" to encourage growth
within the Urban Growth Boundary and to discourage sprawl. Plans were implemented through the Urban
Growth Management Functional Plan in 1996 (Portland Metro Council, 1996). Song and Knaap (2004)
examined the effects of Washington County's strong land-use and growth-management policies on pedes-
trian access and other measures of urban form. Their research showed that new neighborhoods developed
after 1990 demonstrate patterns less characteristic of urban sprawl by having improved internal connectivity
of streets, greater neighborhood densities, closer proximity of neighborhood to commercial use, and, as
shown in Figures 3 and 4, greater pedestrian access to commercial use and bus stops (ibid.).

Zoning and subdivision standards, the classical (land-use) planning tools, were originally established for
the purpose of protecting "community health, safety, morals, and general welfare" (Lautner, 1941, cited in
Ben-Joseph and Szold, 2005: 175). Aspects such as soil contamination, unsafe drinking water, and water, air,
noise, and light pollution are often times directly controlled in land-use planning through location controls
(i.e., site location) and minimum development standards (e.g., minimum setback, sewer and drainage, under-
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ground utilities, waste control, street lighting, parking). All of these aspects of the environment have well-
established pathological effects on health (see Matte and Jacobs, 2000). For example, planning decisions
regarding transportation corridors, setbacks, and noise-attenuation treatments have clear impacts on com-
munity noise levels. Noise has a well-documented influence on reading acquisition among children, it
elevates blood pressure and stress hormones (e.g., cortisol) (Evans, 2001, 2006), and it is a major nuisance,
producing widespread annoyance (Berglund, et al., 1999).

Linkages between the environment and health have also been established via the effects of urban form on
walking or automobile use. Auto-dependence and lack ofphysical activity occur in tandem. The same environ-
mental characteristics that distinguish residential, commercial, and manufacturing land use from each other and
make auto-dependence unavoidable also make walking and other means of travel impractical. Non-automotive
travel, like the use ofpublic transit, is associated with higher levels ofwalking. For example, Wener and Evans
(2007) found that train users are four times more likely than car commuters in Manhattan to walk the recom-
mended I 0,000 steps daily. Excessive car use has been linked with obesity (Frank and Schmid, 2004), and sprawl
is associated with less walking, higher rates of obesity, and a greater prevalence ofhypertension (Ewing, eta/.,
2003). Long commutes are associated with stress and cardiovascular disease (Koslowsky, eta/., 1995; Novaco,
eta/., 1991 ), and traffic congestion is a major contributor to job stress (Downs, 1992).

Land-use mixture, density, and street patterns have been found to have important impacts on transporta-
tion-mode choice and walking behavior. Studies reveal that reduced automobile usage and increased public-
transit ridership and walking are observed in places that are more compact (Friedman, et al., 1994), have more
mixedlanduse(FrankandPivo, 1995; Handy, 1992), and have griddedstreetpatterns (Kitamura, eta/., 1997).
For example, Handy ( 1996a, 1996b) found that residents of neighborhoods within close proximity of commer-
cial areas walked to the store significantly more often than residents of neighborhoods further from com-
merce. Cervero and Duncan (2003) found that mixed-use settings (both at the trip origin and destination)
were associated with transit usage and alternatives to driving alone. The presence of sidewalk infrastructure
was also associated with choosing commuting alternatives to the automobile. A comprehensive examination
oflinkages between the built environment and travel-mode choice is offered by Ewing and Cervero (200 1)
and Crane and Boarnet (200 1). Other studies look at the aggregation of neighborhood features and find that
residents of"highly walkable" neighborhoods characterized by higher residential density, mixed land use,
and street connectivity are more physically active than residents of "low walkability" neighborhoods
(Saelens and Black, eta/., 2003). Recent research has attempted to overcome many of the methodological
shortcomings that prevailed in earlier research, such as selection bias, incorporating survey data to diminish
self-selection (Nasar, 2003 ), and using longitudinal studies (Krizek, 2003; Wells and Yang, 2008). Frank and
Engelke (200 1), Handy, eta/. (2002), Lee and Moudon (2004), and Saelens and Frank, eta/. (2003) provide
reviews of research on the environment and physical activity.

The environment also affects sense of community and social interaction, which have well-documented
impacts on health and longevity (Berman and Syme, 1979; Cohen, eta/., 1997; House, eta/., 1988). Neighbor-
hood configurations may influence sense of community (Kim and Kaplan, 2004; Lund, 2002; Plas and Lewis,
1996). Moreover, higher traffic volume on residential streets is associated with lower levels of social interac-
tion among neighbors (Appleyard and Lintell, 1972). Parents on busier streets restrict their children's out-
door play behavior, which, in turn, strains interpersonal relationships within the home and is associated with
fewer friendships among both children and parents (Huttenmoser, 1995).

Food Systems, Availability, and Affordability

Although early planners included food-systems planning as an integral part of their professional responsi-
bilities (Donofrio, 2007; Stein and Bauer, 1934), dietary habits have generally not been considered within the
province ofplanning (Pothukuchi and Kaufman, 1999, 2000). Nevertheless, planners' contributions to deci-
sions about the location of food stores and the allowance of mixed use can affect the food retai !landscape
in ways that profoundly influence dietary practices with both immediate and long-term implications.

Morland, et a/. (2002) found that African Americans residing in a census tract where a supermarket was
located were 30% more likely to eat the recommended number of daily fruit and vegetable servings than
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TABLE 2. Increases in fiuit and vegetable consumption among those who ate two or fewer servings prior to grocery-store
intervention (based on Wrigley, et a/., 2003).

Change Between Pre- and                                Poor Diets in Pre-Intervention Period (n  239)
Post-Intervention Periods                   Fruits and Veget!bles          Veget!bles           Fruit and Fruit Juice

Increased                                          143                        129                        130
No change                                           24                         38                         36
Decreased                                           72                         72                         73
In average consumption
   (portions per day)                               +0.44                      +0.18                      +0.26
%change                                            +34%                       +20%                       +65%




TABLE 3. Increases in fruit and vegetable conswnption among those who ate less than one serving prior to groccry-store
inrervention (based on Wrigley, el a/., 2003).

Change Between Pre- and                                Poor Diets in Pre-Intervention Period (n - 60)
Post-Intervention Periods                   Fruits and Vegetables          Vegetables            Fruit and Fruit Juice

Increased                                          45                         37                         37
No change                                           8                         14                         15
Decreased                                           7                          9                           8
In average consumption
   (portions per day)                             +0.82                      +0.37                      +0.45
%change                                         +139%                       +77%                      +409%




those living in a census tract without a supermarket. A rare "natural experiment" in England involved data
collection before and after the construction of a grocery store in a "retail poor" urban area. The new store
had no effect on community members' diets on average, but among people with poor diets prior to the
intervention, fruit and vegetable consumption increased significantly. For people who ate two or fewer
servings of fruit and vegetables prior to the store opening, daily consumption increased by 113 -from 1.31
to l. 75 servings per day. Among individuals with the worst diets, who ate less than one serving of fruits and
vegetables per day, 75% increased their consumption, and average consumption of fruits and vegetables
more than doubled- from .59 to 1.41 servings daily. Moreover, among the 45% of the 615 nearby residents
who switched to the new store, there was a 300% increase in walking as the mode of transportation to buy
food. One valuable message from this study is that the enviromnent can influence different people's health
or health behaviors differently. This intervention was particularly effective in promoting healthy eating
among those most nutritionally at risk (Wrigley, et al., 2003) (see Tables 2 and 3). An important strategy for
planners and researchers interested in the environment and health is to be alert to natural experiments where
changes in the physical environment afford opportunities to compare the health of the same residents
before and after the implementation of planning initiatives. This research approach will strengthen the
foundation of knowledge for evidence-based decision making.

Other research illustrates that patterns in the food environment parallel the health disparities evident in our
society. For example, both availability ofheart-healthy foods and the mean number ofheart-healthy foods at
local stores correlate with neighborhood SES in San Diego (Sallis, et al., 1986). Similarly, Morland, et al.
(2002) found that wealthier neighborhoods had significantly more supermarkets than poorer neighbor-
hoods, while the poorest neighborhoods had three times more venues for alcohol consumption than the
wealthiest neighborhoods.

Planning decisions related to the location of supermarkets, fast food, farmers' markets, and convenience
stores influence who has easy access to what kinds of food. Providing community members with access to
healthy foods is likely to encourage consumption of those foods and may help, ultimately, to combat the
obesity epidemic. Planners can help ensure that the traditional linkage between poverty and lack of access
to healthy food is broken. Food-location decisions are particularly critical for low-income and ethnic minor-
ity populations who typically experience a wide range ofhealth disparities and do not have the resources to
overcome the friction of physical distance to frequent health-food retailers.
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                     Pre I Post Housing Intervention                                  Pre I Posl HouSnQ Intervention


          FIGURE 5. Reduced housing problems from                       FIGURE 6. Reduced psychological distress from
              pre~ to post~bousing intervention.                              pre~ to post~bousing intervention.
                 Adapted from Wells (2000b ).                                    Adapted from Wells (2000b ).


Housing Characteristics and Quality

Many planning decisions directly and indirectly influence the residential experience of people in ways that
affect their health. Two aspects of residential settings and health need to be highlighted. First, multiple
characteristics of residential settings are often simultaneously affected by housing decisions. To put it
differently, planning often alters the ecological context ofthe residential experience for citizens (e.g., du Toit,
2009). The level of poverty in the community and the household is one very strong influence on exposure to
multiple health risks. Second, research on housing characteristics and health typically isolates singular
characteristics. Thus, there is a fundamental disjunction between the reality of what planners do and
scientific evaluations of the consequences of those actions. Furthermore, as we discuss later in the paper,
there is preliminary evidence showing that the health impacts on people of multiple environmental character-
istics are more consequential than singular characteristics of the physical and social settings in which
people live and work. The building type (e.g., multiple occupancy vs. single family), height, size, and
setback; housing quality; and various housing regulations and codes impact residential characteristics. The
quality ofhousing directly and indirectly influences human health and well-being. Sanitation practices (e.g.,
trash removal, siting of waste collection and storage), fire-prevention technology and location, sewage-
system maintenance and capacity, and housing and related public-health code enforcement practices all
contribute directly to the ecology of healthy living conditions (Matte and Jacobs, 2000).

Housing quality affects both physical and mental health. With respect to physical health, studies indicate
that cold and dampness are associated with respiratory illnesses (Shaw, 2004). And elevated levels of
allergens (e.g., cockroaches, dust mites) contribute to asthma (Wigle, 2003). Behavior toxins such as lead are
affected by paint and plumbing materials, pesticide residues are influenced by human use as well as building
characteristics, and several indoor air pollutants are influenced by housing characteristics such as ventila-
tion exchange rates, use of gas for cooking, and certain building materials that release gas chemicals (Krieger
and Higgins, 2002; Matte and Jacobs, 2000). In addition, children in low-income areas have greaternumbers
of injuries that occur in the home (Pomerantz, eta/., 200 I; Roberts and Power, 1996; Scholer, eta/., 1999). This
is due to poor housing quality coupled with lax enforcement of housing codes (O'Campo, et al., 2000).

Turning to mental health, people living in better quality housing have fewer psychological symptoms.
Evidence includes cross-sectional comparisons with good controls for SES, studies that randomly assigned
people to different housing conditions, and longitudinal investigations comparing the same individuals
before and after housing improvements (Evans, eta/., 2000, 2003; Wells, 2000b ). For example, Halpern ( 1995)
examined 117low-income women living in public housing in the U.K. Half of the homes were remodeled and
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upgraded. Anxiety and depression decreased in those receiving housing improvement whereas no changes
in psychological symptoms occurred among the other half of the sample. Prior to the housing intervention,
the groups had equivalent levels of mental health. Similarly, in a longitudinal study of low-income women
living in urban areas throughout Michigan, relocation from inadequate to new housing was statistically
linked to improvements in psychological well-being. Improvements in housing quality predicted post-move
levels of psychological distress, explaining 12% of the variance in post-move psychological distress after
controlling for pre-move distress. These longitudinal data help to establish a causal relationship mther than
merely a cross-sectional association between housing and health (Evans, eta/., 2000; Wells, 2000b) (Figures
5and6).

The scale of housing, in terms of both height and size, has health effects. People living in high-rise housing
are more prone to falls. Steep or uneven staircases and absent or poorly maintained handrails are major
factors in home falls, particularly for children and frail elderly (Krieger and Higgins, 2002). High-rise housing
elevates psychological distress, particularly among low-income mothers of young children. Studies are
mostly cross-sectional, but most include statistical controls for SES, and a few are true experiments with
random assignment to housing (Evans, eta/., 2003). In a landmark study of housing and health, Fanning
(1967) examined 1,500 servicemen's wives who were randomly assigned to living accommodations. Physi-
cian-documented psychological distress was two times higher among women living on the fourth floor than
among those on the ground floor. In another well-designed study, children residing in large, 14-story public
housing had significantly greater behavioml problems than their counterparts living in three-story public
housing. Families in this study were assigned to buildings according to seniority on waiting lists, which
makes it unlikely that selection could account for the differences found (Saegert, 1982).

One likely explanation for some of the mental-health sequelae of high-rise housing, particularly among
young families, is social isolation. It is more difficult to let children play outside when one lives high up in a
large building (Kim, 1997). Playgrounds and public spaces likely serve a critical social-gathering function for
parents of young children. Mental-health data are more equivocal for single-family detached housing than
for multifamily housing, with some studies finding adverse effects of multifamily dwelling, but it is difficult
to tease out the different roles played by floor level and scale. There is more consistent evidence, however,
that interpersonal relationships with neighbors are less positive and that people who live in larger, multifam-
ily dwellings experience lower levels of social support than those who reside in single-family homes (Evans,
2003). The impact of housing on socially supportive relationships is a good illustration of an indirect health
effect of planning decisions. Social support is a critical component of mental and physical health. More
socially isolated individuals have an elevated risk of ill health.

Crowding, particularly the ratio ofpeople/room, has well-documented adverse effects on mental and physi-
cal health. Extremely high density levels exacerbate the spread of infectious diseases. Blood pressure and
stress hormones (e.g., cortisol) are also elevated by higher levels of people/room. This has been shown in
field studies with controls for SES and in labomtory experiments where people were randomly assigned to
different density levels (Evans, 2001). Psychological distress is higher among people in higher density
homes. For example, in a prospective study, Lepore, eta/. (1991) showed that, upon initial occupancy,
college students had equivalent levels of psychological distress, but after nine months of living together,
those living under higher-density conditions had significantly greater levels of psychological distress. This
and other studies suggest that high residential density is inimical to mental health because it undermines the
development and maintenance of socially supportive relationships (Evans, 2001; Wells and Harris, 2007).
Counterintuitively, living physically closer to more people leads to less social support (Evans and Lepore,
1993). Parents in more crowded homes are also Jess responsive to their children (Evans, eta/., 1999).


PLANNING AND THE ECOLOGICAL CONTEXT OF HEALTH

Planners make decisions that often affect more than one component of the physical and sociocultural
environments. Although the research on environmental risk factors, as reviewed above, has focused on
singular risks and health, the convergence of multiple risk factors likely has a stronger impact on mental and
physical health compared to singular altemtions. Thus, planning decisions that influence neighborhood
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and housing quality jointly have more potent health impacts than decisions that affect either of these
components singularly. Many of the leverage points that planners affect have direct as well as synergistic
influences on health as they co-vary with other health agents. Perhaps the most potent example of this is the
ecological context of SES and health. Planners directly and indirectly have the power to strongly affect the
interrelations between SES, the physical environment, and health. A large, extensive international literature
documents the relationship between both household and neighborhood SES and health (Adler, eta/., 1993).
Decisions that planners influence have a lot to do with this. The higher the concentration of low SES in a
neighborhood, the greater the exposure to environmental hazards including crowding, noise, toxins, sub-
standard housing, hazardous wastes, and ambient pollutants (Evans and Kantrowitz, 2002). Neighborhood
SES is also related to amenities that foster physical activity (e.g., parks and low traffic volume) and retail
opportunities that support healthy dietary practices (e.g., access to fresh fruits and vegetables and fewer
opportunities for fast-food purchases) (Taylor, eta/., 2006). Each ofthese environmental characteristics, in
turn, is linked to health. Moreover, the convergence of multiple physical risk hazards mediates some of the
well-established relations between SES and health (Evans, 2004). A principal reason why SES is directly
related to health is the inverse correlation of SES and hazard exposures. Thus, planning decisions that
increase the level and concentration oflow SES residences in a neighborhood also foster bad health. Legal
and economic barriers to SES segregation and incentives to economic heterogeneity foster better health.
Planning practices that uncouple the linkages between SES and environmental inequities will improve the
health of poor people.

Combinations of risk factors have ill effects that exceed the impacts of singular risk exposure. To provide a
few illustrations, children living in multifamily houses at equivalent levels of people/room evince higher
levels of psychological distress than their countetparts living in single-family detached or small row houses
(Evans, et al., 2002). Children residing in noisierneighborhoods who attend schools with loud ambient noise
have lower reading scores than children in the same noisy schools who reside in quiet neighborhoods
(Cohen, eta/., 1986). Substandard housing quality combined with deteriorated neighborhood conditions
accentuates psychological distress (Kasl, eta/., 1982; Katz, eta/., 2000). All of this potential exposure to
environmental risk is directly influenced by planning decisions.


IMPLICATIONS FOR PLANNERS

Historically, when planning decisions have been made with public-health concerns in mind, it has been done
with a reactive spirit - responding to an infectious-disease epidemic or other crisis. Today, the most
common health challenges are of a chronic rather than acute nature. Concerns have shifted from tuberculo-
sis and typhus, for example, to coronary heart disease and obesity. This transition in the profile of disease
provides planners with an opportunity to proactively consider the health-related consequences of decision-
making. Moreover, in the contemporary planning context, planners are armed with considerable research
evidence that equips them to be proactive, rather than merely reactive. Planning decisions represent lever-
age points- small actions that can translate into large health impacts. These decisions are likely to have
effects in the short term, as well as substantial long-term ripple effects that influence the health and quality
of life of subsequent generations.

Given the considerable evidence indicating that a wide range of environmental characteristics does indeed
affect health and the recognition that planners do influence the physical environment, we suggest the
following guidelines:
     (1) Explicitly consider health implications when making planning decisions. Given the abundance of
         evidence indicating that planning influences the environment and the environment, in turn, affects
         health, health outcomes must be explicitly included in decision making. It is time for the field of
         planning to reconnect with public-health concerns in ways that are appropriate to the contemporary
         health profile of chronic rather than infectious diseases. Short-term economic efficiencies need to be
         carefully weighed against long-term economic costs resulting from less-healthy communities.
     (2) Employ environmental quality as a leverage point to diminish the SES health gradient. Income
         inequalities in health closely track disparities in environmental quality. Housing quality, pollution
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         and toxins, high traffic volume, noise, natural amenities, places to exercise, and availability of
         healthy foods are not randomly distributed across populations.
     (3) Use a proactive, forward-thinking mindset when making planning decisions. Rather than merely
         reacting to the public-health concerns of the day, planners need to consider both short-term and
         long-term impacts of decisions.
     (4) Aim for resilience of individuals and communities, not merely avoiding risk and ill-health. In the
         context of human development theory, Dunst and Trivette (1994) have proposed that attention be
         paid to factors that promote, as well as those that deter, healthy development. They suggest that
         the focus on health and well-being has historically been on reducing risk factors, rather than on
         bolstering resources to enhance resilience. We apply this notion to planning. Planning should be
         oriented toward the creation ofhealthy, thriving communities, not merely the avoidance of illness.
         Rather than treating diseases such as cardiovascular disease after symptoms are manifest, the
         planning profession is uniquely positioned to provide environmental contexts that support
         healthy lifestyles (e.g., physical activity, healthy eating) and minimize exposure to environmental
         risks (e.g., noise, traffic congestion, substandard housing). Preventative public health and medi-
         cine are highly dependent on the profile of environmental risk factors and resources, which is
         heavily influenced by the actions and policies proposed by planning professionals.
     (5) Employ evidence in decision making. Considerable research evidence exists to link planning-
         related environmental outcomes to physical, psychological, and social well-being. This informa-
         tion needs to be integrated into the planning process.

One tool to help planners meet these five recommendations is the health-impact assessment (HIA) (CDC,
2008a; Cole, eta/., 2007; Dannenberg, eta/., 2006, 2008; Morris, 2006; Thomson, eta/., 2003; WHO, 2008).
lllAs, analogous to environmental-impact statements, provide a mechanism for making decisions based on
research evidence. HIAs vary considerably in form- from checklists to multistep procedures (Dannenberg,
et a/., 2006). HIAs are not rigorous measurement instruments, but they are valuable tools for raising aware-
ness among planners, public-health officials, and citizens alike (Morris, 2006:75). Although HlAs are in their
infancy in the United States, they are a promising mechanism for incorporating health issues into the
planning process.

Making health an explicit component of planning is critical (Morris, 2006; USGBC, 2006). By reconnecting
with health issues, the field of planning can play a central role in health by reducing rates of illness and
fostering healthy, thriving, resilient individuals and communities. The three pillars of contemporary plan-
ning policy and practice -law and regulations, economics, and public participation-provide a partial and
unbalanced foundation for the profession. A firmer foundation for planning policy and practice will incorpo-
rate the conscious and active consideration ofhealth impacts. Planners, whether or not they are aware of it,
are major contributors to health and well-being. The more enlightened and active they become in this regard,
the greater their contribution to the health and welfare of their fellow citizens will be.


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    Pedestrian Environment Data Scan
                            AUDIT PROTOCOL

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Audit Protocol written by Andrea D. Livi- Spring 2004.
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GENERAL DIRECTIONS:
Surveyors will go out each day with their team. Maps of segments and a list of segments will be
given each morning to direct surveyors regarding which segments they should survey. Surveyors
will return to Caroline Hall each day to upload completed entries.
In case of inclement weather, the Undergraduate and Graduate Fellows will assess the situation
and decide whether surveying should be postponed.

SUPPLIES:
     Map of area with segments detailed
     Master list of segments
     PDA

PROCEDURES AT EACH SEGMENT:
   l. Identify the segment on your map and check it against the master list. Start a new entry
      and input the segment number, your name, the time, day and weather.
  2. Make sure you locate the beginning and endpoint of the segment. Look at the map to find
      the information.
  3. Walk the segment once WITHOUT writing anything on the survey form. You should
      look around in all directions, without forgetting to look up and down as well.
  4. Walk the segment again, this time while filling out the survey (as explained below). Go
      back and forth as often as necessary in order to fill in each question. Make sure you are in
      agreement with your teammate about your choices.
  NOTE: The audit only consists of "check" (boxes) and "fill in number" (line) questions. For
  the numeric answer, use integers only. If you need to round the number, always round up.
  5. When you have filled each question, go over the entire survey again to make sure you
      have completely answered the form and that you are satisfied with your answers (in the
      paper audit, this means you will have at least one check mark per cluster of boxes). You
      can then move on to the next segment, following the same procedure.
  6. Make sure to record any modifications such as segments that are merged or do not exist.
      Also, make note of any questions or problems that arose while surveying the segment.


QUESTION BREAKDOWN:
The following section of the protocol describes each question and response category to aid the
administrators in dealing with variations in the environment. The administrators are encouraged
to read through this section and use it as a reference while surveying the segments.
For each question, the name and number are in bold, the answer options are in italics and the
comments, definitions or directions in regular text.




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SECTION 0: SEGMENT NUMBER & TYPE




0. Segment Type
Low volume road - audit both sides
High volume road- audit this side only
Bike or ped path - skip section C
Options 1 and 2 will be defined prior to the administration of the survey. If the segment on the
map has two lines instead of one, it will be considered a "high volume road".
                                   -OJ!-
             II                                 In the illustration at left, segment 164 is a low
            "'"'
            t:;~                                volume road and segmentsl63 and 961 are a high
                                                volume road.



                                r
                                                "Bike or ped path" is to be checked off if there is
                                                no automobile access roadway in the segment.




High volume roads will only be audited on one side for all questions except questions 3.
Segment Intersections (count ALL intersections) and 15:.Number of Lanes (count ALL lanes).




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SECTION A: ENVIRONMENT

1. Uses In Segment
Count EVERY USE within the segment. That is: every use within the boundary formed by
   making a right-angle line from the beginning and end of the segment. Uses only count if
   there is access to it in the segment, like a driveway, walkway, or entrance. Access to a back
   door or a loading dock would count as access. Abandoned buildings do not qualify as
   vacant. Instead, count them under their intended use.

                    Uses Counted
                    Segment I



Answer Options
Housing- Single Family Detached
Housing- Multi-Family: attached housing, apartments, duplexes.
Housing- Mobile Homes
Office/Institutional: office parks, corporate campuses, public buildings, schools, churches,
    hospitals etc. This also includes professional offices in residential buildings (dentist, lawyer,
    doctor, accountant, etc.)
Restaurant/Cafe/Commercial: restaurants, stores, malls, gas stations etc.
Industrial: factories, mills, industrial complexes, etc.
Vacant!Undeyeloped: cleaned or cleared off lots, naturally occurring vegetation, natural features
such as lakes and rivers.
Recreation: parks, golf courses, basketball courts etc. Official paths coming off a segment can
    count as recreation.


2. Slope
Answer Options
Flat: there is no discernable hill walking the segment.
Slight Hill: there is a slight hill in the segment, but not enough to make walking uphill difficult.
Steep Hill: the hill in the segment makes walking or biking it difficult.

3. Segment Intersections (check all that apply)
Answer Options
Segment has 3-way intersection
Segment has 4-way intersection.
Segment has other intersection
Segment deadends
Segment deadends but path continues
Segment has no intersections



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SECTION B: PEDESTRIAN FACILITY

If there is no pedestrian facility in the segment, skip to section C

Note: A pedestrian facility does not count if it is a private walk in front of a single family house.
It would count if it is a facility in front of a commercial center intended to be used as a sidewalk.
An incomplete sidewalk in front of a residential home counts if it looks as though it was built by
the city.

4. Type(s) of Pedestrian Facility (check all that apply)
Answer Options
Footpath (worn dirt path)
Paved Trail: a paved trail is any paved walkway that is not associated with a roadway.
Sidewalk: a walkway will only be considered a sidewalk if it is associated with a roadway.
Pedestrian Street (closed to cars)

NOTE: The rest of the questions in this section refer to the BEST pedestrian facility selected
above.

5. Path Material
Select all that apply. Even if one material is just a patch in the sidewalk, please mark it.
Answer Options
Asphalt
Concrete
Paving Bricks or Flat Stone
Gravel
Dirt or Sand

6. Sidewalk Condition/Maintenance
Answer Options
Poor (many bumps/cracks/holes): A sidewalk will be considered "poor" if a stroller cannot be
   pushed along the sidewalk without many jarring motions and/or if it clearly needs to be
   replaced (patches would not be sufficient)
Fair (some bumps/cracks/holes): A sidewalk will be considered "fair" if a stroller can easily be
   pushed along the sidewalk with few jarring motions to the passenger and/or it only needs
   patches or other minor repair.
Good (very few bumps/cracks/holes): A sidewalk will be considered "good" if a stroller can
   easily be pushed along the sidewalk without jarring motions to the passenger and/or it needs
   no repair at this time.
Under Repair: A sidewalk will only be considered "under repair" if there is evidence of work
   being done to improve the sidewalk. Orange cones are not enough. If construction work is
   being done adjacent to the sidewalk, blocking it off as a result, it is considered "under
   repair."




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7. Path Obstructions (check all that apply)
NOTE: An object is only a path obstruction if it severely reduces or completely blocks off the
   pedestrian facility. Threshold: Could you get by in wheelchair or while pushing a stroller?
For this question, you are looking at potential obstructions on ALL pedestrian facilities on the
   street. In other words, if there are two sidewalks and only one has obstructions, please write
   down those obstructions.
Answer Options
Poles or Signs
Parked Cars: cars in driveways that block the sidewalk should be counted.
Greenery
Garbage Cans
Other
None

If the pedestrian facility in the segment is not a sidewalk, skip now to section C

8. Buffers between road and path (check all that apply)
Answer Options
Fence
Trees: trees are only a buffer if they are part of a landscape/grass buffer or if they occur regularly
    enough on the street to discourage pedestrians from walking along the roadway. Trees
    within a grass buffer count as a buffer.
Hedges
Landscape
Grass
None

9. Distance from curb
Answer Options
At Edge
< 5jeet
> 5jeet
If possible, use a tape measure to measure the distance and round up to the next integer. If no
tape measure is available, measure by using your feet and rounding to the next highest integer. If
it seems too dangerous to walk to the roadway, measure by using context clues. If the sidewalk
distance from the curb varies, use the average or typical distance.

10. Sidewalk width
Answer Options
< 4jeet
Between 4 and 8 feet
> 8jeet
If possible, use a tape measure to measure the distance, not including the curb, and round up to
the next integer. If no tape measure is available, measure by using your feet and rounding to the
next highest integer. If sidewalk width varies, use the average or typical width.

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11. Curb Cuts
Answer Options
None
1 to 4
>4

12. Sidewalk Completeness/Continuity
This refers to the completeness of the sidewalk WITHIN the segment.
Answer Options
Sidewalk is complete: a sidewalk is complete if it does not have any breaks within the segment.
Sidewalk is incomplete: a sidewalk is incomplete if it ends or has gaps within the segment.

13. Sidewalk connectivity to other sidewalks/crosswalks
This refers to the number of connections the segment sidewalk has to crosswalks and other
    sidewalks. Stop signs at the end of the segment can be treated as a crosswalk. This will be
    scored as follows:
At the beginning of the segment, looking backward 180 degrees, +90 degrees and -90 degrees:
    how many sidewalks or crosswalks are there?
At the end of the segment, looking forward, +90 degrees and -90 degrees: how many sidewalks
    or crosswalks are there?
In the middle of the segment: are how many sidewalks or crosswalks are there?
These three scores should be added to make up the connectivity score.
A very well connected segment will have a score of six plus any crosswalks that may exist along
the segment.

                        Segment 1    I
                                     I
Connections to other sidewalks crosswalks in diagram above shown in red. The above diagram
has 8 connections.
On a low volume residential segment there does not need to be a crosswalk in order to count as a
connection.
Connections made by crossing the street to another side where a sidewalk exists does not count.




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SECTION C: ROAD ATTRIBUTES

NOTE: skip this section if path only

14. Condition of Road
Answer Options
Poor (many bumps/cracks/holes): the potholes, cracks, etc. present would cause a vehicle driving
   the segment to rock, dip or otherwise disrupt driving.
Fair (some bumps/cracks/holes): there are potholes, cracks etc., but not enough to cause
   problems for a vehicle driving the segment.
Good (very few bumps/cracks/holes): there are no large potholes or other problems that would
   cause problems for a vehicle driving the segment.
Under Repair: A roadway will only be considered "under repair" if there is evidence of work
   being done to improve it. Orange cones are not enough.

15. Number of Lanes
 Minimum number of lanes to cross
Maximum number of lanes to cross
Count ALL lanes (even if it is a high volume road), including turn only lanes and/or "suicide
lanes" one would need to cross the road at its widest point along the segment.

16. Posted Speed Limit
Answer Options
None Posted
(mph): _ __
Check the "none posted" box unless there is a sign WITIDN the segment that displays the speed
limit. Even if there is a sign outside the segment, within plain view, it does not count.


17. On Street Parking
If pavement is unmarked, check "parallel" only if there are cars parked within the segment or if
parking signs are present.
Answer Options
Parallel or Diagonal
None




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18. Off-Street Parking Lot Spaces
Answer 0 ntions
I   G-5   I 6-25   26+
I         I
Count all off-street parking spaces in segment Cars in single family home driveways do not
count Only cars in actual parking lots count (apartment complexes, commercial parking, office
parking etc.) There must be access to the lot from the segment

19. Must you walk through a parking lot to get to most buildings?
Answer Options
Yes
No
For this question, the origin point of walking to the buildings will be from the sidewalk. If there
is no sidewalk, origin point will be the curb of the roadway.

20. Presence of High-Medium Volume Driveways
Answer Options
<2
2 to4
>4
High-medium volume driveways are driveways that often have cars pulling in and out, like
commercial driveways or driveways of apartment buildings. Single-family residential driveways
are low volume and should not be counted here.

21. Traffic Control Devices (check all that apply)
Count only the traffic control devices within the segment, not those that are visible but outside
the segment (they will be captured when the next segment is surveyed.)
Answer Options
Traffic Light
Stop Sign
Traffic Circle: counts on all the segments that go into the circle. Triangular traffic control
devices can also be counted under this category.
Speed Bumps
Chicanes or Chokers: chicanes are a series of narrowings or curb extensions that alternate from
    one side of the street to the other forming S-shaped curves. Chokers are curb extensions at
    midblock or intersection corners that narrow a street by extending the sidewalk or widening
    the planting strip.




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22. Crosswalks
Answer Options
None
1 to 2
3 to 4
>4
Make sure to note all marked crosswalks in segment. "Marked" refers to lines on the pavement
(but not automobile stop lines) or signs, lights or signals.

23. Crossing Aids in Segment (check all that apply)
Answer Options
    Cars Must Stop
Pavement Markings
Yield toPed Paddles
Pedestrian Signal
    Crossing Aids
Median/Traffic Island
Curb Extension
Overpass/Underpass
   Warnings to Cars
Pedestrian Crossing Street Sign: street sign without flashing light. Children at play signs can
    also be included here. Yield signs for cars do not count.
Flashing Warning
Share the Road Warning

24. Bicycle Facilities (check all that apply)
Answer Options
No designated bikeway
Bicycle route signs
Striped bicycle lane designation
Visible bicycle parking facilities: these facilities must be useable by the public, not for private
    use only
Bicycle crossing warning.




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SECTION D: WALKING/CYCLING ENVIRONMENT

25. Roadway/Path Lighting
Answer Options
No Lighting: there is no artificial lighting in the area.
Road-oriented lighting: there are public light fixtures that aim light at the road or are very high
   and illuminate broad expanses.
Pedestrian-scale lighting: there are public light fixtures that aim light at the walking path.
Other lighting: lighting from stores, apartments etc. that lights the road and/or pedestrian path.

26. Amenities (check all that apply)
Must be for public use. Also, visible and accessible from the pedestrian path.
Answer Options
Garbage Cans: only public use garbage cans count. Residential garbage cans do not count.
Benches
Water Fountain
Street Vendors/Vending Machines: this includes soda machines, candy machines, public pay
    phones, mailboxes and newspaper dispensers.

27. Are there Wayfinding Aids Present?
Answer Options
Yes A way:finding aid is a sign identifYing the name of the cross streets. Any sign visible from
    the segment at the pedestrian level counts as a way:finding aid, even if it is actually located on
    another segment.
No

28. Number of Trees Shading Path
Answer Options
None or Very Few: the path is not shaded by any trees (or only one tree) along the segment. (less
   than 25% is covered)
Some: the path is covered between 25 and 75% of the way.
Many/Dense: more than 75% of the path is shaded by trees.

29. Degree of Enclosure
Answer Options
For this question, take into account both the
    buildings and natural features (trees, bushes etc.)     -•                   ..•• ..••
Little or no enclosure: the view from the sidewalk is
    open in both directions for more than 15 feet for
    most of the segment. It is a wide-open,
    unconstrained space.
Some enclosure: the view is partially enclosed, but
                                                           •-                    •               I

    there is still some wide-open spaces.
Highly enclosed: the buildings lining the street are within I 0 feet of the sidewalk and there is a
    cross-sectional design ratio of approximately one (height) to two (width), or less.

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30. Powerlines along segment?
Power lines that cross or run parallel to the segment all count in this question.
Answer Options
No
Low Voltage/Distribution Line
High Voltage/Transmission Line

31. Overall Cleanliness and Building Maintenance
Leaves, branches, and brush, all count towards cleanliness based on the amount and if it is
clearly visible and in the pedestrian path.
Answer Options
Poor: there is noticeable garbage, graffiti and/or broken glass along the segment.
Fair: there are a few wrappers, or other litter but no graffiti or other garbage evident.
Good: there is no obvious garbage, graffiti, litter or broken glass in the segment.

32. Articulation of Building Designs
Answer Options
Little or no articulation: the fa9ades of buildings along the segment are unadorned and do not
    have many window openings.
Some articulation: the fa9ades of buildings along the segment are similar in style and/or are not
    very ornate.
Highly articulated: the fa9ades of buildings along the segment are complex and varied.

33. Building Setbacks
Answer Options
At edge ofsidewalk
Within 20 feet ofsidewalk
More than 20 feet from sidewalk

34. Building Height
Answer Options
Short: 1-2 stories, except with big box buildings or other buildings with tall floors.
Medium: 3-5 stories (with same exceptions.)
Tall: buildings taller than 5 stories (with same exceptions.)
NOTE: Average height is to be measured here, not the maximum or minimum height.


35. Bus Stops
Answer Options
Bus stop with shelter
Bus stop with bench
Bus stop with signage only




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SECTION SA: SUBJECTIVE ASSESSMENT


Enter 1. 2. 3 or 4 for:
1 =Strongly Agree
2 =Agree
3 =Disagree
4 = Strongly Disagree

Segment ...
. . . is attractive for walking
... is attractive for cycling
. .. feels safe for walking
... feels safe for cycling

Response to the "attractive" question should answer the question: "would you want to walk/bike
   this segment?" This includes finding the area aesthetically pleasing and existence of
   destinations.

Response to the "safe" question for walking should take into consideration not only walking
   along the sidewalk but crossing the street. The administrator should think of walking the
   segment with a 10 year old child. Would a child be safe walking the segment?

Response to the "safe" question for cycling should take into consideration existence of a bicycle
   Jane and speed of local traffic. A segment can only score a 1 in this question if the traffic
   goes below 25 miles an hour or there is a formal bicycle lane present.



For more information on the Pedestrian Environment Data Scan, please contact:

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                                                                  DMe''----------------
            Number:

                                                                                     now to section




                  Housing - Single Family Detached . - - " _
                                                             11
                             Housing - Mufti-Family 1----J ~II
                            Housing- Mobile Homes
                                 Office/Institutional                                                                                                       Road-oriented lighting
                       Restaurant/Cafetcommercial                                                                                                         Pedestrian-scale lighting
                                                                                               number of connections                                                Other lighting
                                                                                                                                                                       No lighting

                                                                                                                                   Amenities (all that apply)
 2. Slope                                                                                                                                                     Public garbage cans
                                                                                                                                                                         Benches
                                                                                                                                                                    Water fountain
                                                                                                       Under                                     Street vendors/vending machines
                                                                                                                                                                     No amenities
   Segment Intersections                                             Number of lanes
                Segment has 3 way intersection                                         Minimum #of lanes to cross
                Segment has 4 way intersection                                         Maximum #of lanes to cross                                                                  NoE31
                Segment has other intersection                                                                                                                                    Yes   2
         Segment deadends but path continues                      16. Posted speed limit
                          Segment deadends                                                                                         Number of trees shading walking area
                 Segment has no intersections                                                                                                               None or Very Few
                                                                                                                                                                        Some
                                                                  17. On..street parking (if pavement is unmarked,                                               Many/Dense
                                                                        only if cars parked)

                                                                                                                                                                Little or no enclosure
                                                                                                                                                                      Some enclosure
                                                                                                                                                                      Highly enclosed
                                                                                                         0-5
  The rest of the questions in section B refer                                                                                     Powerlines along segment?
I tolh<> b<>Stpede••tri·,,n facility selected above.                                                                                               low Voltage/Distribution Line
     Path material (all that apply)                                                                                                              High VottagefTransmission Line
                                                 Asphalt             Must you walk through a parking lot                                                                   None
                                                Concrete            get to most buildings?
                            Paving Bricks or Flat Stone                                                                            Overall cleanliness and building ma,;ntenan<'1--~
                                                  Gravel                                                                                Poor (much litterlgraffrti/broken facilities)
                                                                                                                                          Fair (some litter/graffitilbrol<en facilities)
                                                                     Presence of med-hi volume driveways                                    Good (no litter/graffiti/broken facilities)

                                                                                                                '" ''L---''',j:l2.A,t;c,,lationin building des~ns
                                                                                                                                                           Little or no articulation
                                                                                                                                                                 Some articulation
                                                                                                                                                                 Highly articulated

   Path obstructions (all that apply)                                                                                              Building setbacks from sidewalk
                                   Poles or Signs                                                                                                            At edge of sidewalk
                                      Parked Cars                                                                                                      Within 20 feet of sidewalk
                                                                                                                                                More than 20 feet from sidewalk

                                                                                                                               34. Building height
                                                                     Crosswalks                                                                                                Short
                                                                                                                                                                             Medium
                                                                                                                                                                                  Tall

                                                                                                                               35. Bus slops
                                                                                                                                                             Bus stop with shelter
                                                              23. Crossing Aids (all that apply)                                                              Bus stop with bench
                                                                                                                                                        Bus stop with signage only
                                                                                                                                                                       No bus stop

 . Path Distance from Curb
                                              Atedge§1
                                              < 5 feet
                                              >Sfeel   3

10. Sidewalk Width
                                           <4feet§1
                               Between 4 and 8 feet 2
                                           >8feet   3



Kelly
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     How walkable is your community?
     Take a walk with a child and
     decide for yourselves.
     Everyone benefits from walking. These benefits include:
     improved fitness, cleaner air, reduced risks of certain
     health problems, and a greater sense of community. But
     walking needs to be safe and easy. Take a walk with your
     child and use this checklist to decide if your neighborhood
     is a friendly place to walk. Take heart if you find problems,
     there are ways you can make things better.




     Getting started:
     First, you'll need to pick a place to walk, like the route
     to school, a friend's house or just somewhere fun to
     go. The second step involves the checklist. Read over
     the checklist before you go, and as you walk, note the
     locations of things you would like to change. At the end
     of your walk, give each question a rating. Then add up
     the numbers to see how you rated your walk overall.After
     you've rated your walk and identified any problem areas,
     the next step is to figure out what you can do to improve
     your community's score. You'll find both immediate
     answers and long-term solutions under "Improving Your
     Community's Score..." on the third page .




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                                                                                                        2          3         4             5     6
Location of walk                                                 Rating Scale:
                                                                                       awful        many        some       good    very good excellent
                                                                                                  problems problems


 1.   Did you have room to walk?                                      4· Was it easy to follow safety rules?
      DYes      D Some problems:                                         Could you and your child ...
                    D Sidewalks or paths started and stopped
                                                                          D     Yes   0   No      Cross at crosswalks or where you could see
                    D Sidewalks were broken or cracked                                            and be seen by drivers?
                    D Sidewalks were blocked with poles,                  D Yes       0   No      Stop and look left, right and then left
                      signs,shrubbery, dumpsters, etc.                                            again before crossing streets?
                    D No sidewalks, paths, or shoulders                   0     Yes   0   No      Walk on sidewalks or shoulders facing
                    0   Too much traffic                                                          traffic where there were no sidewalks?
                    0   Something else _ _ _ _ _ _ _ __                   0     Yes   D No        Cross with the light?
 Rating: (circle one)          Locations of problems:                 Rating: (circle one)                  Locations of problems:
  I 2 3 4 5 6                                                          123456



 2.   Was it easy to cross streets?                                   5· Was your walk pleasant?
      DYes      0    Some problems:                                      DYes         D Some problems:
                    0 Road was too wide                                                   0    Needed more grass, flowers, or trees
                    D Traffic signals made us wait too long or did                        0    Scary dogs
                      not give us enough time to cross                                    0    Scary people
                    0 Needed striped crosswalks or traffic signals                        0    Not well lighted
                    D Parked cars blocked our view of traffic                             D Dirty, lots of litter or trash
                    0   Trees or plants blocked our view of traffic                       D Dirty air due to automobile exhaust
                    D   Needed curb ramps or ramps needed repair                          0 Something else _ _ _ _ _ _ _ _ __
                        Something else _ _ _ _ _ _ _ __
                                                                      Rating: (circle one)             Locations of problems:
 Rating: (circle one)          Locations of problems:                  I 2 3 4 5 6
  1 2 3 4 5 6



3. Did drivers behave well?                                           How does your neighborhood stack up?
   DYes         0    Some problems: Drivers ...                       Add up your ratings and decide.
                    D Backed out of driveways without looking
                    D Did not yield to people crossing the street             1.                26-30       Celebrate! You have a great
                    D   Turned into people crossing the street                2.
                                                                                                            neighborhood for walking.
                    0 Drove too fastp                                                           21-25       Celebrate a little. Your neighborhood
                                                                           3·--                             is pretty good.
                    D Sped up to make it through traffic lights or         4·--
                      drove through traffic lights?                                             16-20       Okay, but it needs work.
                                                                           5·--                             It needs lots of work. You deserve
                    0 Something else _ _ _ _ _ _ _ __                                           11-15
                                                                       Total:                               better than that.
Rating: (circle one)          Locations of problems:                                            5-10        It's a disaster for walking!
 123456
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                                                   What you and your child                             What you and your community
 1. Did you have room to walk?                     can do immediately                                  can do with more time
 Sidewalks or paths started and stopped            • pick another route for now                        • speak up at board meetings
 Sidewalks broken or cracked                       • tell local traffic engineerillg or public works   • write or petition city for walkways and
 Sidewalks blocked                                   department about specific problems and              gather neighborhood signatures
                                                     provide a copy of the checklist                   • make media aware of problem
 No sidewalks, paths or shoulders
 Too much traffic                                                                                      • work with a local transportation engineer to
                                                                                                         develop a plan for a safe walking route

 2. Was it easy to cross streets?

Road too wide                                      • pick another route for now                        • push for crosswalks/signals/ parking
Traffic signals made us wait too long or did not   • share problems and checklist with local             changes/curb ramps at city meetings
give us enough time to cross                         traffic engineering or public works               • report to traffic engineer where parked cars
Crosswalks/traffic signals needed                    department                                          are safety hazards
View of traffic blocked by parked cars, trees,     • trim your trees or bushes that block the street   • report i11egally parked cars to the police
or plants                                            and ask your neighbors to do the same             • request that the public works department
Needed curb ramps or ramps needed repair           • leave nice notes on problem cars asking             trim trees or plants
                                                     owners not to park there                          • make media aware of problem

3· Did drivers behave well?
Backed without looking                             • pick another route for now                        • petition for more enforcement
Did not yield                                      • set an example: slow down and be                  • request protected turns
Turned into walkers                                  considerate of others                             • ask city planners and traffic engineers for
Drove too fast                                     • encourage your neighbors to do the same             traffic calming ideas
Sped up to make traffic lights or drove through    • report unsafe driving to the police               • ask schools about getting crossing guards at
red lights                                                                                               key locations
                                                                                                       • organize a neighborhood speed watch program

4· Could you follow safety rules?
Cross at crosswalks or where you could see         • educate yourself and your child about safe        • encourage schools to teach walking safely
and be seen                                          walking                                           • help schools start safe walking programs
Stop and look left, right, left before crossing    • organize parents in your neighborhood to          • encourage corporate support for flex schedules
Walk on sidewalks or shoulders facing traffic        walk children to school                             so parents can walk children to school
Cross with the light


5· Was your walk pleasant?
Needs grass, flowers, trees            • point out areas to avoid to your child; agree on          • request increased police enforcement
Scary dogs                               safe routes                                               • start a crime watch program in your
Scary people                           • ask neighbors to keep dogs leashed or fenced                 neighborhood
Not well lit                           • report scary dogs to the animal control department        • organize a community clean-up day
Dirty, litter                          • report scary people to the pol ice                        • sponsor a neighborhood beautification or tree-
                                       • report lighting needs to the police or appropriate           planting day
Lots of traffic
                                         public works department                                   • begin an adopt-a-street program
                                       • take a walk wih a trash bag                               • initiate support to provide routes with less traffic
                                       • plant trees, flowers in your yard                            to schools in your community (reduced traffic
                                       • select alternative route with less traffic                   during am and pm school commute times)


A Quick Health Check

Could not go as far or as fast as      • start with short walks and work up to 30 minutes of      • get media to do a story about the health benefits
we wanted                                walking most days                                          of walking
Were tired, short of breath or had     • invite a friend or child along                           • call parks and recreation department about
sore feet or muscles                   • walk along shaded routes where possible                    community walks
Was the sun really hot?                • use sunscreen of SPF 15 or higher, wear a hat and        • encourage corporate support for employee
Was it hot and hazy?                     sunglasses                                                 walking programs
                                       • try not to walk during the hottest time of day           • plant shade trees along routes
                                                                                                  • have a sun safety seminar for kids
                                                                                                  • have kids learn about unhealthy ozone days
                                                                                                    and the Air Quality Index (AQI)
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  WALKING INFORMATION                                                               PEDESTRIAN SAFETY
 Pedestrian and Bicycle Information Center (PBIC)                                   Federal Highway Administration
 UNC Highway Safety Research Center                                                 Pedestrian and Bicycle Safety Team
 Chapel Hill, NC                                                                    Office Of Safety
 www.pedbikeinfo.org                                                                Washington, DC
 www.walkinginfo.org                                                                http://safety.fhwa.dot.gov/ped_bike/

 National Center for Safe Routes to School                                          National Highway Traffic Safety Administration
 Chapel Hill, NC                                                                    Traffic Safety Programs
 www.saferoutesinfo.org                                                             Washington, DC
                                                                                    www.nhtsa.gov/Pedestrians
 For More Information about Who Can Help
 Address Community Problems
 www.walkinginfo.org/problems/help.cfm

 State Bicycle & Pedestrian Coordinators
 http://www.walkinginfo.org/assistance/contacts.cfm                                 SIDEWALK ACCESSIBILITY INFORMATION
                                                                                    US Access Board
                                                                                    Washington, DC
                                                                                    Phone: (Boo) 872·2253;
                                                                                    (Boo) 993-2822 (TTY)
 FEDERAL POLICY, GUIDANCE AND                                                       www.access-board.gov

 FUNDING SOURCES FOR WALKING
 FACILITIES
Federal Highway Administration
Bicycle and Pedestrian Program
Office of Natural and Human Environment
Washington, DC
www.fhwa.dot.gov/environment/bikeped/index.htm




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                 Highway
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                                                U.S. Department of Transportation
                                                National Highway Traffic Safety
                                                AdmlnistraHon
                                                                                                   Safe Routes
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                                                                                                                                                   \!;~
                                                                                                    EIIIH                                          Pedestrian and Bicycle
                                                                                                                                                    Information Center
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 DOT HS 811 748                                                                                             August 2013


 Pedestrians
 In 2011, 4,432 pedestrians were killed and an estimated 69,000 were injured in
 traffic crashes in the United States. On average, a pedestrian was killed every two
 hours and injured every eight minutes in traffic crashes.
A pedeshian, as defined for the purpose of this Traffic Safety Fact Sheet, is any
person on foot, walking, running, jogging, hiking, sitting or lying down who
is involved in a motor vehicle traffic crash. Also, a traffic crash is defined as
an inddent that involves one or more vehicles where at least one vehicle is in
transport and the crash originates on a public trafficway. Crashes that occurred
exclusively on private property, including parking lots and driveways, were
excluded.
The 4,432 pedeshian fatalities in 2011 were an increase of 3 percent from 2010,
but a decrease of 7 percent from 2002. In 2011, pedes man deaths accounted for 14
percent of ali traffic fatalities, and made up 3 percent of all the people injured in
traffic crashes (Table 1).

Table 1
Total Fatalities and Pedestrian Fatalities in Traffic Crashes, 2002-2011




   ·----------·----·---------------------·
NHTSA's National Center for Statistics and Analysis                      1200 New Jersey Avenue SE., Washington, DC 20590
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                                                                                                         In 2011, almost three-fourths (73%) of pedestrian fatalities occurred in an urban
                                                                                                         setting versus a rural setting. Over two-thirds (70%) of pedestrian fatalities
                                                                                                         occurred at non-intersections versus at intersections. Eighty-eight percent of
                                                                                                         pedestrian fatalities occurred during normal weather conditions (clear/ cloudy),
                                                                                                         compared to rain, snow and foggy conditions. A majority of the pedestrian
                                                                                                         fatalities, 70 percent, occurred during the nighttime (6 p.m.-5:59a.m). Between
                                                                                                         2010 and 2011 all these percentages stayed relatively level (Table 2).

                                                                                        ,>_.' ;."·.      Table 2
                                                                                        '                Percentage of Pedestrian Fatalities in Relation to Land Use, Non-Motorist
                                                                                                         Location, Weather and Time of Day




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                                                                                                         Note: Percentage of unknown values are not displayed.
                                                                                                         • Daytime: 6 a.m.-5:59p.m. Nighttime: 6 p.m.-5:59a.m.



                                                                                                         Age
                                                                                                         Older pedestrians (age 65+) accounted for 19 percent (844) of all pedestrian
                                                                                                         fatalities and an estimated 10 percent (7,000) of all pedestrians injured in 2011
                                                                                                         (Table 3).

                                                                                                         In 2011, the fatality rate for older pedestrians (age 65+) was 2.04 per 100,000
                                                                                                         population- higher than the rate for all the other ages (Table 4).

                                                                                                         In 2011, over one-fifth (21 %) of all children between the ages of 10 and 15 who were
                                                                                                         killed in traffic crashes were pedestrians. Children age 15 and younger accounted
                                                                                                         for 6 percent of the pedestrian fatalities in 2011 and 19 percent of all pedestrians
                                                                                                         injured in traffic crashes (Table 3).




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Table 3
Motor Vehicle Traffic Crash Fatalities and Injuries and Pedestrians Killed or
Injured, by Age Group, 2011




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                                      -----------------------------------------------
                                                      Gender
                                                      In 2011, more than two-thirds (70%) of the pedestrians killed were males, and the
                                                      male pedestrian fatality rate per 100,000 population was 2.01- more than double
                                                      the rate for females (0.85 per 100,000 population). The male pedestrian injury rate
                                                      per 100,000 population was 24, compared with 20 for female (Table 4).

Table 4
 Pedestrians Killed and Injured and Fatality and Injury Rates by Age and Sex, 2011




'Rate per 100,000 population
u Less than 500 injured, injury rate not shown
1
 Total killed includes 26 of unknown age.
2
 Note: Totals may not equal sum of components due to independent rounding.
Source: Fatalities-Fatality Analysis Reporting System. NHTSA. Injured-General Estimates System, NHTSA. Population-Bureau of the Census.



                                                     Time of Day and Day of Week
     1Jji,/ty:fu?.~·p~g~t·ifi'••··                   Thirty-two percent of the pedestrian fatalities occurred in crashes between 8 p.m.
     p(!desfri(Ht.fatiiJiffes ·                      and 11:59 p.m. The highest percentage of weekday and weekend fatalities also
                                                     occurred between 8 p.m. and 11:59 p.m. (27% and 39%, respectively). The lowest
     occuf1'ed bet-uJ~en                             occurred between noon and 3:59p.m. (10% and 4%, respectively; Figure 1).
     8p;1ft.· ai{4'11i59p;m. ··

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 Figure 1
 Pedestrian Fatalities by Time of Day and Day of Week, 2D11




                                                                                               Day of Week:
                                                                                               •Weekday
                                                                                               llilil Weekend
                                                                                               DTotal




Alcohol Involvement
Alcohol involvement- either for the driver or for the pedestrian- was reported
in 48 percent of the traffic crashes that resulted in pedestrian fatalities. Of the
pedestrians involved, 35 percent had a blood alcohol concentration (BAC) of .08
grams per deciliter (g/ dL) or higher. Of the drivers involved in these fatal crashes,
only 13 percent had a BAC of .08 g/ dL or higher (Table 5).

Of the pedestrians who were killed in fatal crashes, 37 percent had a BAC of .08
g/ dL or higher. Pedestrians ages 25-34 who were killed had the highest percentage
of alcohol impairment at 50 percent (Table 6).

Table 5
Alcohol Involvement in Crashes That Resulted in Pedestrian Fatalities, 2011




                            2,262         52          66           2         297           7         2,625        60

Pedestrian Alcohol
Involvement,                   152          3         11           0          30                       192          4
BAC .01-.07 g!dl

Involvement,
                             1,233        28          60                     254           6         1,547        35
BAC .08 g/dl
or Greater


Note: The alcohol levels in this table are determined using the alcohol levels of the pedestrians killed and the involved
drivers (killed and other).

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 Table 6
 Alcohol Involvement lor Pedestrians Killed in Fatal Crashes by Age, 2002 and 2011




 'Excludes pedestrians under 16 years old and pedestrians of unknown age.




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U.S. Department                                               (in' Jl1ot(,~ yehicl¢ hiiffi~ ;~rashes .aiepll.liiishe<i an,rt~ally jnTraffti:;sajety Facts: A
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Traffic Safety                                           · r~eport~~hpe '¥'~~e<ionli~e atW\\'W·nrd.nht~a:c;lotgoy/CATS/i)ldex"aspJ( .·
Administration

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   Important Safety Reminders
   For Pedestrians:
   • Walk on a sidewalk or path whenever they are available.

   • If there is no sidewalk or path available, walk facing traffic (on the left side of the
     road) on the shoulder, as far away from traffic as possible. Keep alert at all times;
     don't be distracted by electronic devices, including radios, smart phones and other
     devices that take your eyes (and ears) off the road environment.

   • Be cautious night and day when sharing the road with vehides. Never assume a
     driver sees you (he or she could be distracted, under the influence of alcohol and/ or
     drugs, or just not seeing you). Try to make eye contact vvith drivers as they approach
     you to make sure you are seen.

   • Be predictable as a pedestrian. Cross streets at crosswalks or intersections whenever
     possible. This is where drivers expect pedestrians.

   • If a crosswalk or intersection is not available, locate a well-lit area, wait for a gap in
     traffic that allows you enough time to cross safely, and continue to watch for traffic
     as you cross.

   • Stay off of freeways, restricted-access highways and other pedestrian-prohibited
     roadv.:ays.

   • Be visible at all times. Wear bright clothing during the day;. and wear reflective
     materials or use a flash light at night.

   • Avoid alcohol and drugs when walking; they impair your abilities and judgment too.


   For Drivers:
  • Look out for pedestrians everywhere, at all times. Very often pedestrians are not
    walking where they should be.

  • Be especially vigiJant for pedestrians in hard-to-see conditions, such as nighttime or
    in bad weather.

  • Slowdo\\'11 and be prepared to stop when turning or othervvise entering a crossv-.ralk.

  • Always stop for pedestrians in crosswalks and stop well back from the crosswalk
    to give other vehicles an opportunity to see the crossing pedestrians so they can
    stop too.

  • Never pass vehicles stopped at a crosswalk. They are stopped to allow pedestrians
    to cross the street.

  • Never drive nnder the influence of alcohol and/ or drugs.

  • Follow the speed limit, especially around pedestrians.

  • Follow slower speed limits in school zones and in neighborhoods where there are
    children present.

    - NHTSA's Safety Countermeasures Division




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 Table 7
 Motor Vehicle Traffic Crash Fatalities, Pedestrian Traffic Fatalities, and Fatality Rates by State, 2011



  Alaska
  Arizona                          825                           ~.505                   147
                                    i49
         I   i                   2. '91                 3                                6:               2:.
                                                                                                          11

                                                             ~~~-+----~----r---~1 1~18~--+-----~-----
                                    147
                                   220
                                                             ~                   18.2
 Dist of Columbia                                                                                         29.6
 Florida                         2,                     1!                               4                20.4
 Georgia                         1'                                                                       10.6
 Hawaii                                                                                                   23.0
 Idaho                                                                                                     5.4
 Illinois                                                                                                 14.6
 Indiana                                                                                                   8.1
 Iowa                                                                                                      6.9
 Kansas                                                                                                    3.6
 Kentucky                                                                                                  6.9
 Louisiana                                                . i7· 16                                        13.0
 Maine                                                    ,321 18                         10               7.4                  0.7
       I                                                  '                              102              21.0                  1.7
                                                         6,587,536                        58              17.2                  0.88
                                                         9,876,187                       138              15.5                  1.40
                                                         -.~<14,861                       39              10.6                  0.73
    i i
     I                                                  2,978,512                         47               7.5                  1.58
 Mi«nud                                                 6,010,688                         75               9.6                  1.25
                                                          998,199                         15               7.2                  1.50
                                   181                  1 R4?,~41                          7               3.9                  0.38
 Nevada                            246                  2,723,322                         46              18.7                  1.69
 New           i                    90                  1,318,194                          5               5.6                  0.38
 New Jersey                        627                  8,821,155                        142              22.6                  1.61
 New Mexico                        353                    OR?,??<!                        41              11.6                  1.97
 New York                        1,169                 19,465,197                        287              24.6                  1.47
 North r.,rnlin'                 1,227                  9,656,401                        160              13.0                  1.66
 North Dakota                      148                       RR~ Q~?                       9               6.1                  1.32
 Ohio                            1,016                 11,544,951                        104              10.2                  0.90
                                   696                  3,791,508                         43               6.2                  1.13
 Oregon                            331                  3,871,859                         46              13.9                  1.19
                                 1,286                 12,742,886                        147              11.4                  1.15
 Rhode Island                         66                1,051,302                         14              21.2                  1.33
 South Carolina                    821                  4,679,230                        113              13.6                  2.41
 South Dakota                      11'                    824,082                          7               6.3                  0.85
                                  9<
 "
 Texas
 Utah
                                3,0'
                                  2<
                                                        6,403,353
                                                       25,674,681
                                                        2,817,222
                                                                                          80
                                                                                         421
                                                                                          30
                                                                                                           8.5
                                                                                                          14.0
                                                                                                          12.5
                                                                                                                                1.


                                                          626,431                          3               5.5
 Virginia                                                R OQ~   ~04                      73               9.6
                                                         ~ R~n n~R                        64              14.0
 West Virginia                        17                 1,R<; · ~~4                      2C               5.9
                                                         5,711,767                        57               9.

 U.S. Total ---•-
 Puerto Rico
                      · ·-· E~·~=·:t-J·--:mj~~~7~-Z-
                                         3, J6, lO       ~
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Note. Totals may not equal sum of components due to mdependent rounding.
Sources: Fatalities- Fatality Analysis Reporting System, NHTSA. Population- Bureau of the Census.

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